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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    June 28, 2016
                                        UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                                         SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION


ARTHUR LEE WILLIAMS,                                 §
          Petitioner,                                §
                                                     §
v.                                                   §   CIVIL ACTION NO. H-13-1714
                                                     §
LORIE DAVIS,1                                        §
Director, Texas Department of                        §
Criminal Justice, Correctional                       §
Institutions Division,                               §
                Respondent.                          §


                                   MEMORANDUM OPINION AND ORDER
            In 1983, a jury convicted Arthur Lee Williams of the capital murder of a police
officer. The jury answered Texas’s special issue questions in a manner requiring the
imposition of a death sentence. After unsuccessfully availing himself of Texas’s
appellate and post-conviction remedies, Williams seeks federal habeas relief from his
conviction and sentence pursuant to 28 U.S.C. § 2254 [Doc. # 7].
            Respondent Lorie Davis has answered the petition [Doc. # 20]. The Court has
thoroughly examined the record in this case, including the state court pretrial, trial,
appellate, and habeas proceedings. Based on this review and the application of
governing legal authorities – giving due consideration to the Anti-Terrorism and
Effective Death Penalty Act of 1996 (“AEDPA”) – the Court finds that constitutional



1
       Effective May 1, 2016, Lorie Davis replaced William Stephens as the Director of the
Correctional Institutions Division of the Texas Department of Criminal Justice. Pursuant to
Rule 25 of the Federal Rules of Civil Procedure, Davis “is automatically substituted as a
party.” FED.R.CIV.P. 25(d).


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error in the punishment phase jury instructions requires that Texas either (1) commute
Williams’ sentence to one of life imprisonment or (2) hold a new sentencing hearing.
The Court concludes, however, that habeas relief is unavailable on all grounds relating
to Williams’ conviction. The Court will discuss the reasons for these rulings at length
below.
                                                     BACKGROUND
            In 1982, the State of Texas charged twenty-three-year-old Williams with capital
murder for “intentionally and knowingly caus[ing] the death of Daryl Wayne Shirley
. . ., a peace officer in the lawful discharge of an official duty, by shooting [him] with
a gun, knowing at the time that [he] was a peace officer.” Clerk’s Record at 6.2
Williams stood trial in the 208th District Court of Harris County, Texas in 1983. Trial
testimony showed the following: Williams, a convicted felon from Minnesota, had
absconded to Texas after his parole to a half-way house. While in Texas, Williams
lived with his sister and began using the name Marvin Dean Hogues.
            Authorities in Minnesota issued a warrant for his arrest. The Harris County
Police Department assigned Shirley, an officer in the Fugitive Criminal Warrant
Division, to find and arrest Williams.
            In the afternoon of April 28, 1982, Williams shot Detective Shirley during a
scuffle at an apartment building where he was staying. Detective Shirley, who was
wearing plain clothes and a cowboy hat, approached Williams as he left an apartment


2
       The state court records consist of a transcript that contains pretrial motions, trial court
orders, jury instructions, and other pleadings, cited as “Clerk’s Record , p. __”; a Statement
of Facts including hearings on pretrial motions, jury voir dire, the guilt/innocence phase, and
the penalty phase, cited as “Tr. Vol. __, at __”; and a transcript of the state habeas
proceedings, cited as “S.H.R. at __.” The Court will refer to the papers from Williams’
successive state habeas record as “S.S.H.R. at ___.” The Reporter’s Record in this case
contains two different designations for volume numbers – one on the cover sheet and a
different one on the internal transcript. The Court will refer to the designation on the cover
sheet throughout this Order.

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with a friend. Detective Shirley called Williams by his real name, drew his weapon,
placed it against Williams’ head, and pushed Williams up against a wall. Williams
yelled for his friend to get help. A struggle ensued and the men fought for Detective
Shirley’s gun. As the two men wrestled on the ground, Detective Shirley shouted for
an onlooker to call the police. Williams shot Detective Shirley twice with his own
gun. Williams picked up Detective Shirley’s gun and fled.
            The police soon arrested Williams. Williams was tried in 1983. The trial
focused on the indictment’s allegation that Williams killed during the “lawful
discharge of [Officer Shirley’s] official duty . . . knowing at the time that [he] was a
peace officer.” The State argued that the trial testimony and evidence showed that
Detective Shirley had unquestionably identified himself as a police officer, with the
intent of arresting Williams. Williams’ trial attorneys3 argued that Williams did not
know that the victim was a police officer. The defense disputed whether Detective
Shirley had actually identified himself as such and argued that Williams fought with
Detective Shirley because Williams had previously been assaulted by a man
pretending to be a police officer. Williams’s federal petition explains:
            a few months before the incident with Detective Shirley, he was accosted
            by a man with a gun who forced his way into his apartment by
            identifying himself as a police officer. The man then attempted to rob
            Williams and was shot in an ensuing struggle. These circumstances
            made Williams much more wary of strangers and caused him to react
            more defensively to any perceived danger.
Doc. # 7, p. 28. The defense asked jurors to find that Williams did not know that he
was shooting a police officer.
            The jury found Williams guilty of capital murder. Texas law required the jury
to determine Williams’ sentence by answering three special issue questions:


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      James Stafford, Harrison Gregg Jr., Carroll Carrie represented Williams at trial. The
Court will refer to Williams’ attorneys collectively as “trial counsel.”

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                                      Special Issue No. 1
            Was the conduct of the defendant, Arthur Lee Williams, Jr., AKA
            Marvin Dean Hogues, committed deliberately and with the reasonable
            expectation that the death of the deceased or another would result?

                                        Special Issue No. 2
            Is there a probability that the defendant, Arthur Lee Williams Jr.,
            AKA Marvin Dean Hogues, would commit criminal acts of violence
            that would constitute a continuing threat to society?

                                     Special Issue No. 3
            Was the conduct of the defendant, Arthur Lee Williams Jr., AKA
            Marvin Dean Hogues, in killing Daryl Wayne Shirley, the deceased,
            unreasonable in response to the provocation, if any, by the deceased?

Clerk’s Record at 209-10. At the time of trial, Texas law did not include a specific
instruction for jurors to consider mitigating evidence.
            In the penalty phase, the prosecution presented testimony and evidence of
Williams’ lawlessness. Williams had previously committed armed robbery and had
carried weapons. The police suspected that Williams had committed burglary. Eight
people from Williams’ home state of Minnesota testified that he had a bad reputation
for not being peaceful or law abiding. The defense did not call any witnesses or
present any testimony in the punishment phase.
            The jury answered Texas’ special issue questions in a manner requiring
imposition of a death sentence. Williams appealed his conviction and sentence.
Among other issues, Williams complained that the prosecution unconstitutionally used
its peremptory strikes to remove African-Americans from the jury panel. The Texas
Court of Criminal Appeals affirmed Williams’ conviction and sentence. Williams v.
State, 682 S.W.2d 538 (Tex. Crim. App. 1984). Williams filed a petition for a writ
of certiorari in the United States Supreme Court. While Williams’ petition was
pending review, the Supreme Court decided Batson v. Kentucky, 476 U.S. 79 (1986).
The Supreme Court subsequently held that Batson applied retroactively. Griffith v.

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Kentucky, 476 U.S. 314 (1987). The Supreme Court vacated the Court of Criminal
Appeals’ judgment against Williams and remanded the case for renewed consideration
in light of Batson. Williams v. Texas, 479 U.S. 1074 (1987). In turn, the Court of
Criminal Appeals remanded the case to the trial court for a Batson hearing. Williams
v. State, 731 S.W.2d 563 (Tex. Crim. App. 1987).
            The trial court held a Batson hearing in 1988. The trial prosecutors provided
race-neutral justifications for their peremptory strikes. The trial court issued findings
of fact and conclusions of law rejecting Williams’ Batson claim. Supplemental
Clerk’s Record at 29-40. The Court of Criminal Appeals again affirmed Williams’
conviction on appeal. Williams v. State, 804 S.W.2d 95 (Tex. Crim. App. 1991). The
Supreme Court denied certiorari review. Williams v. Texas, 501 U.S. 1239 (1991).
            State habeas review spanned the next two decades, with long periods where
Williams’ case languished in inactivity. On September 24, 1991, volunteer attorneys
filed a petition for a writ of habeas corpus (“1991 application”) on Williams’ behalf
raising thirty-nine grounds for relief. S.H.R. 6-155. Williams moved for discovery
and for an evidentiary hearing on his claims. S.H.R. at 171-78, 187-88. In 1993, the
State of Texas filed a lengthy answer. S.H.R. at 201-323. The State also requested
that the trial court designate issues for resolution in the case. S.H.R. at 198-99.
            At some point in 1991, Randy Schaffer, Esq., began representing Williams. On
December 27, 1993, Mr. Schaffer filed an Amended Application for Writ of Habeas
Corpus (“1993 application”). S.H.R. at 354-482. The 1993 application raised sixteen
allegations, with numerous subsections. The 1993 application contained numerous
issues asserted in the 1991 application, and raised several other issues for the first
time. The State filed a supplemental answer four years later. S.H.R. at 555-628.
            On June 5, 2001, Mr. Schaffer sent the trial court a letter abandoning several
claims in the 1993 application “in view of intervening caselaw.” Also, Mr. Schaffer
told the trial court that it “need not consider the grounds raised in the initial

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application filed by volunteer lawyers from Minnesota [the 1991 application].”
Supplemental S.H.R. at 2.
            On the State’s motion in 2002, the trial court found that “no controverted
previously unresolved factual issues material to the legality of [Williams’]
confinement exist” and ordered the parties to submit proposed findings of fact and
conclusions of law. S.H.R. at 634.
            Williams filed proposed findings and conclusions in 2004. Before the trial
court acted on parties’ filings, Williams filed a “Supplement to Amended Application
for a Writ of Habeas Corpus” in 2005.                    S.H.R. at 653-65 (“Supplemental
Application”). Relying on new Supreme Court precedent from Miller-El v. Dretke,
545 U.S. 231 (2005), Williams again urged a Batson claim. Williams’ supplemental
application, however, only argued that the State had unconstitutionally exercised a
peremptory strike on one prospective juror because of her race.
            In 2008, the State filed proposed findings and conclusions. With the exception
of adding two conclusions of law, the trial court signed the State’s proposed order
verbatim on November 19, 2008. S.H.R. at 746-82. The trial court found that
Williams “abandoned his habeas claims” raised in the 1991 application. S.H.R. at 757,
769. Also, the trial-level habeas court found that Williams’ state habeas arguments
lacked merit. The trial court sent the findings and conclusions to the Court of
Criminal Appeals. The trial court’s recommendation did not adjudicate the issue
raised by Williams’ 2005 Supplemental Application, but forwarded that document to
the Court of Criminal Appeals.
            On January 29, 2009, Mr. Schaffer sent a letter to the Court of Criminal
Appeals clarifying that he had abandoned several claims from the 1993 application.
Mr. Schaffer explained: “I filed an amended application in 1993 with 16 grounds for
relief. I abandoned all or part of ten of those grounds in 2001 because of intervening
caselaw.”

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            Observing that the trial court failed to make findings of fact and conclusions of
law on one claim, the Court of Criminal Appeals remanded for the development of
that issue. Ex parte Williams, 2009 WL 1165504, at *1 (Tex. Crim. App. 2009).
Also, the Court of Criminal Appeals found that the issues raised by Williams’
supplemental application satisfied the abuse-of-the-writ provisions of Texas Code of
Criminal Procedure article 11.071, § 5, and remanded the Batson issue for
consideration by the trial court.
            The trial-level habeas court held a hearing regarding the issues on remand. The
trial court orally denied the remanded issues. Supp. S.H.R., Transcription of Writ
Hearing of June 7, 2010. On June 30, 2010, the trial-level habeas court signed the
State’s proposed findings and conclusions denying relief on the remanded issues.
Supp. S.H.R. at 68-78. After briefing and oral argument, the Court of Criminal
Appeals denied habeas relief. Ex Parte Williams, No. AP-76455, 2012 WL 2130951
(Tex. Crim. App. 2012).
            Federal review followed. This Court appointed counsel. Williams filed a
federal habeas petition that tracks many of the issues raised in the 1991 application,
reurging several claims that Mr. Schaffer had abandoned. Williams’ federal petition
raises the following grounds for relief:
            1.          The State denied Williams a fundamentally fair trial.
                        A.    The State suppressed police dispatch tapes relating to a
                              witnesses’ telephone call.
                        B.    The State refused to disclose police personnel records
                              concerning Detective Shirley and evidence relating to the
                              policies and practices of the Houston Police Department.
                        C.    The State suppressed exculpatory evidence concerning an
                              earlier attempted robbery of Williams.4
                        D.    The State failed to produce exculpatory evidence from
                              Houston Police Department records relating to the

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       Williams raised a somewhat similar claim on direct appeal but based his arguments
solely on state, not federal, law.

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                                       investigating police officers.
                        E.             The State put into evidence photographs of the crime scene
                                       that police officers had allegedly staged.

            2.          The trial court violated Williams’ right to present a meaningful
                        defense.
                        A.    The trial court did not allow into evidence medical records
                              for the man who had allegedly tried to rob him.
                        B.    The trial court did not allow into evidence hotel receipts
                              which corroborated trial testimony about the alleged
                              previous robbery attempt.
                        C.    The trial court erred by not allowing Williams to present
                              other evidence relating to his trial defense.

            3.          Various alleged trial errors violated Williams’ constitutional
                        rights.5
                        A.     The State allegedly harassed and intimidated witnesses.
                        B.     The trial court improperly allowed the prosecution to
                               impeach one of its own witnesses with a prior written
                               statement.
                        C.     The trial court should have given the jury a limiting
                               instruction regarding a witness’ prior inconsistent
                               statement.
                        D.     The prosecutor violated Williams’ constitutional rights by
                               telling jurors to consider character evidence in the
                               guilt/innocence phase.
                        E.     The prosecutor violated Williams’ constitutional rights by
                               telling jurors to consider the character of the victim and the
                               impact of his death on his family in deciding whether
                               Williams was guilty of capital murder.
                        F.     The trial court erred by allowing the consideration of victim
                               character and impact evidence during guilt-phase
                               deliberations.
                        G.     Williams is not guilty of capital murder because the victim
                               was not acting in the lawful performance of his duties at the
                               time of the murder.

5
       Immediately following the heading for section three in the petition, Williams includes
a discussion that apparently amounts to a ground for relief. Accordingly, the Court has
renumbered the subsequent subsections to include that claim.

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                        H.             The trial court refused to order the release of criminal
                                       records of state and defense witnesses.
                        I.             The trial court limited the funds available for expert and
                                       investigative assistance.
                        J.             Prejudicial publicity and the inflammatory atmosphere
                                       surrounding the trial deprived Williams of a fundamentally
                                       fair trial.

            4.          Various circumstances during jury selection violated Williams’
                        rights.
                        A.      The State violated the Sixth, Eighth, and Fourteenth
                                Amendments by removing all black prospective jurors.
                        B.      The State’s use of peremptory strikes to create an all-white
                                jury violated the Thirteenth Amendment.
                        C.      The trial court erred by failing to excuse prospective juror
                                Patricia Hamilton.
                        D.      The trial court erred by excusing prospective juror Wallace
                                Smith.
                        E.      The trial court erred by excusing prospective juror Dorin
                                Ewing.
                        F.      The trial court erred by failing to excuse prospective juror
                                Clell Belcher.
                        G.      The trial court erred by failing to excuse prospective juror
                                William Meador.
                        H.      The trial court erred by failing to excuse prospective juror
                                Shirlee Martin.
                        I.      The trial court erred by failing to excuse prospective juror
                                Davalene Fore.
                        J.      The trial court erred when it denied Williams’ motion for
                                additional peremptory challenges.

            5.          The trial court improperly allowed into evidence Williams’ history
                        of juvenile delinquency during the guilt/innocence phase.

            6.          The trial court erred at the punishment stage by allowing State’s
                        witnesses to testify about Williams’ reputation in the community.

            7.          Texas’ special issue questions did not give jurors an adequate
                        vehicle to consider and give effect to mitigating evidence under
                        Penry v. Lynaugh, 492 U.S. 302 (1989).

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            8.          Structural deficiencies in Texas’ capital-sentencing scheme
                        deprived Williams of his constitutional rights.
                        A.    The absence of a specific special issue relating to
                              mitigating evidence prevented trial counsel from providing
                              effective assistance and denied Williams an individual
                              determination of his sentence.
                        B.    The absence of a mitigation special issue chilled counsel’s
                              presentation of mitigating evidence.
                        C.    The Texas capital sentencing statute unconstitutionally
                              prohibited the trial court from instructing jurors at the
                              penalty phase regarding the effect of a “No” vote by one
                              juror.
                        D.    The trial court should have instructed the jurors to consider
                              mitigating evidence.
                        E.    The Texas capital statute called for a mandatory sentence
                              of death without the consideration of mitigating
                              circumstances.
                        F.    The special issue questions are unconstitutionally vague.
                        G.    The special issues impermissibly act as aggravating
                              circumstances.
                        H.    Williams’ death sentence was predicated on an invalid
                              aggravating circumstance
                        I.    The jury could not consider mitigating evidence
                              relating to a prior attempted robbery.
                        J.    The trial court erred in admitting proof of Williams’ parole
                              revocation.
                        K.    Texas’ special issue questions are unconstitutionally vague.
            Respondent has moved for summary judgment [Doc. # 20].6 The Court denied
summary judgment and ordered the parties to provide briefing on several issues [Doc.
# 26]. The parties have provided the additional briefing [Docs. ## 33, 34]. This case
is ripe for adjudication.




6
        Respondent’s summary judgment motion renumbered Williams’ claims. For the
purposes of clarity, the Court will refer to the claims by the designation Williams set forth
in his amended federal petition [Doc. # 7], with minor alterations.

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                         PROCEDURAL STATUS OF WILLIAMS’ CLAIMS
            The Court’s first task is to determine which claims Williams presents in a
manner that allows for federal review. Respondent argues that, even though Williams
raised his federal claims in state court, he did not litigate all of them in a manner
consistent with the federal exhaustion doctrine. Federal courts have long required
inmates to give state courts the first chance to rectify constitutional violations. See Ex
parte Royall, 117 U.S. 241, 251-52 (1886). Exhaustion “give[s] the state courts a full
and fair opportunity to resolve federal constitutional claims before those claims are
presented to the federal courts . . . .” O’Sullivan v. Boerckel, 526 U.S. 838, 845
(1999); see also Cullen v. Pinholster, 563 U.S. 170, 208 (2011) (“The exhaustion
requirement thus reserves to state courts the first opportunity to resolve factual
disputes relevant to a state prisoner’s claim.”). Federal courts “rigorously enforce[]
total exhaustion” and require inmates to purse “full relief first from the state courts .
. . .” Rose v. Lundy, 455 U.S. 509, 518-19 (1982) (italics added). Inmates have fully
exhausted claims after “giv[ing] the state courts one full opportunity to resolve any
constitutional issues by invoking one complete round of the State’s established
appellate review process.” O’Sullivan, 526 U.S. at 845; see also Duncan v. Walker,
533 U.S. 167, 179 (2001); Picard v. Connor, 404 U.S. 270, 275 (1971). AEDPA
codifies the exhaustion doctrine and requires inmates to avail themselves of remedies
“available in the courts of the State.” 28 U.S.C. § 2254(b)(1).
            A.          Williams’ Litigation in State Court
            Respondent argues that, while Williams may have presented most of his federal
claims in state court, he did not exhaust them as understood by federal law. Serious
and difficult questions particularly arise concerning the manner in which Williams
litigated issues on state habeas review.                  Williams filed three separate habeas
applications, but not all the issues therein proceeded to adjudication. To summarize,
the state habeas record contains: (1) a 1991 state habeas application filed by Williams’

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pro bono attorneys; (2) a 1993 application by appointed counsel Mr. Schaffer which
renewed some claims from the 1991 application, limited others, and raised new issues;
and (3) a 2005 subsequent habeas application advancing a modified Batson claim.
Williams’s federal petition closely tracks his 1991 application, but also includes
claims contained in the two later state habeas applications. This convoluted state
litigation history results in four categories of claims. Each category of claims presents
different questions regarding whether Williams sufficiently exhausted his federal
grounds for relief.
            First, Williams’ federal petition includes claims from the 1991 petition that Mr.
Schaffer did not renew in the 1993 application.7 In 2002, Mr. Schaffer informed the
state courts that Williams had waived all claims advanced in the 1991 application.
Respondent argues that Mr. Schaffer’s abandonment of those claims means that
Williams did not fully and fairly present them to the state courts for adjudication.
            For the purposes of the exhaustion doctrine, “a state habeas petitioner’s
disclaimer of an argument has the same effect as his failure to raise it in the first
place.” Johnson v. Cain, 712 F.3d 227, 233 (5th Cir. 2013); see also Daniel v.
Cockrell, 283 F.3d 697, 701 (5th Cir. 2002). By waiving the claims in the 1991
application, Williams “signal[ed] to the state courts that they need not pass judgment
upon” those issues. Johnson, 712 F.3d at 233. Williams’ waiver forfeited his state
court remedies and prevented the highest state court from considering those grounds
for relief. Proceeding to federal adjudication of the claims from the 1991 application
“would be inconsistent with comity interests and would subvert the primary purpose
of the exhaustion requirement.” Id. at 233-34.8 Williams has not exhausted the


7
        Federal claims 1, 2, and 3(a), (b), (c), (f), (g), (h), (i), (j); 4(b), (d), (h), (i), (j); 5; and
8(a), (c), (f), (g), (h), (i), (j).
8
            Williams has not responded to Respondent’s exhaustion argument with regard to this
                                                                               (continued...)

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claims that he raised in the 1991 application but did not later renew.
            Second, the 1993 application contained several claims that Mr. Schaffer later
abandoned. The 1993 application renewed some claims from the 1991 application9
and also advanced several new grounds for relief.10 In 2002, Mr. Schaffer advised the
state courts that Williams abandoned some claims from the 1993 application.11
Because the abandonment prevented the Court of Criminal Appeals from ruling on
Williams’ constitutional arguments, those claims are unexhausted.
            Third, Williams’ federal petition includes at least one claim (claim 7) that
Williams raised in the 1991 application, and Mr. Schaffer included with a narrower
focus in the 1993 application, yet the Court of Criminal Appeals still gave expansive
review. As the Court will discuss at greater length below, the Court of Criminal
Appeals’ adjudication of Williams’ Penry claim defines the extent to which Williams
has exhausted state court remedies. This Court’s review of the Penry claim should be
co-extensive with that which the Court of Criminal Appeals adjudicated. See Jones
v. Dretke, 375 F.3d 352, 355 (5th Cir. 2004) (finding that exhaustion was satisfied,
despite the fact that the inmate had argued a different theory, when the Court of
Criminal Appeals “undertook to decide it on the merits sua sponte” under the same
theory advanced in federal court). The extent of the Court of Criminal Appeals’
review defines the Penry issues available for federal review.
            Fourth, Williams’ federal petition raises several issues that he either exhausted


8
       (...continued)
category of claims, nor has he shown that any exception to the exhaustion doctrine would
allow federal consideration of those issues.
9
            Including federal claim 3(d) and part of federal claims 3(e) and 4(g).
10
            Including federal claims 4(f) and 6.
11
      The state habeas court’s findings and conclusions acknowledged Mr. Schaffer’s
abandonment of those arguments. S.H.R. at 757.

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on direct appeal or advanced in his 1993 application that Mr. Schaffer did not later
abandon (claims 3(e); 4(a), (c), (e), (f), (g); and part of 8). The merits of those claims
are fully before this Court.
            Accordingly, the Court finds that Williams only raised claims 3(e); 4(a), (c), (e),
(f), (g); 7; and 8(b), (d), (e) in a manner consistent with the federal exhaustion
doctrine. The merits of those claims are fully available for federal review.
            B.          Procedural Bar
            Respondent argues that this Court cannot consider the merits of any claims that
Williams did not fully exhaust in state court. Federal precedent generally favors the
dismissal of “mixed petitions”–those raising both exhausted and unexhausted
claims–to allow state court review. See Rose v. Lundy, 455 U.S. 509, 510 (1982).
However, Texas’ abuse-of-the-writ doctrine (codified at Texas Code of Criminal
Procedure article 11.071, § 5) generally precludes inmates from filing successive state
habeas applications, preventing inmates from returning to state court in order to
exhaust their claims. Thus, a procedural default results when an inmate advances for
the first time in federal court a claim that the state courts would bar on procedural
grounds. See Nobles v. Johnson, 127 F.3d 409, 420 (5th Cir. 1997).
            A procedural bar is not insuperable. The Supreme Court has noted:
            In all cases in which a state prisoner has defaulted his federal claims in
            state court pursuant to an independent and adequate state procedural rule,
            federal habeas review of the claims is barred unless the prisoner can
            demonstrate cause for the default and actual prejudice as a result of the
            alleged violation of federal law, or demonstrate that failure to consider
            the claims will result in a fundamental miscarriage of justice.
Coleman v. Thompson, 501 U.S. 722, 750 (1991) (emphasis added). Williams’ most
recent briefing seems to suggest that state habeas counsel’s litigation strategy should
forgive the procedural bar.
            The Supreme Court in Martinez v. Ryan, ___ U.S. ___, 132 S. Ct. 1309, 1318
(2012), and Trevino v. Thaler, ___ U.S. ___, 133 S. Ct. 1911 (2013), held that state
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habeas counsel’s representation may forgive federal impediments to review under
limited circumstances.12 Here, Mr. Schaffer’s decision not to adopt various arguments
from the 1991 application, and then to abandon issues from the 1993 application,
provides a potential basis for Williams’ ineffective-assistance-of-habeas-counsel
argument. Limitations on the Martinez exception, however, preclude deficiencies in
habeas representation from opening the door to federal review in this case. Martinez
and Trevino only created only “a narrow exception” for the “procedural default of a
claim of ineffective assistance at trial.” Martinez, 132 S. Ct. at 1315; see Reed v.
Stephens, 739 F.3d 753, 778 nn.16 & 20 (5th Cir. 2014) (declining to extend Martinez
beyond ineffective-assistance claims). Williams’ federal petition does not appear to
raise any ineffective-assistance-of-trial-counsel claim.13


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        Williams particularly emphasizes that state habeas counsel’s abandonment of the 1991
application should forgive any exhaustion problems with his Penry claim. Williams contends
that, “[g]iven all of the litigation over mitigation instruction and the numerous Supreme
Court decisions, there can be no legitimate basis for the abandonment of any issue relating
to mitigating instructions or the investigation and presentation of mitigating evidence at trial”
[Doc. # 34, p. 14]. The Court has already found that Williams sufficiently exhausted his
Penry claim.
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       While somewhat unclear, Williams may raise one ineffective-assistance-of-trial-
counsel claim. Williams raises an issue similar to a claim under Strickland v. Washington,
466 U.S. 668 (1984), by arguing that alleged defects in Texas’ capital sentencing scheme
impeded counsel’s ability to raise certain arguments [Doc. # 7, p. 149]. Williams argued on
state habeas review that trial counsel was deficient under Strickland for not presenting
mitigating evidence.
       In his federal petition, Williams does not list a claim that counsel failed to present
mitigating evidence as a separate ground for relief. Williams does not include any significant
discussion of Strickland’s deficient performance and prejudice prongs regarding the lack of
mitigating evidence, nor does he present evidence that trial counsel should have found and
introduced before the jury. Instead, Williams’ federal claim appears to center on a structural
argument that the lack of a mitigation instruction caused counsel to perform ineffectively in
the penalty phase. Courts have treated similar “chilling effect” arguments as a variation of
Penry, not Strickland, claims. See Mann v. Scott, 41 F.3d 968, 980 (5th Cir. 1994); May v.
Collins, 948 F.2d 162, 168 (5th Cir. 1991); Buxton v. Collins, 925 F.2d 816, 822 (5th Cir.
                                                                                (continued...)

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            As Williams does not make any other argument to overcome the procedural
hurdles, the Court cannot consider the claims he defaulted in state court. Only claims
3(e); 4(a), (c), (e), (f), (g); 7; and 8(b), (d), (e) from Williams’ federal habeas petition
are fully available for federal review.
          ANALYSIS OF CLAIMS AVAILABLE FOR FEDERAL REVIEW
            Before turning to the merits of Williams’ exhausted claims, the Court discusses
the deferential review afforded state court decisions. The Court then addresses the
procedurally available claims relating to the guilt/innocence and penalty phase in turn.
I.          STANDARD OF REVIEW
            The writ of habeas corpus provides an important, but narrow, examination of
an inmate’s conviction and sentence. See Harrington v. Richter, 562 U.S. 86, 103
(2011); Barefoot v. Estelle, 463 U.S. 880, 887 (1983). “Society’s resources have been
concentrated at [a criminal trial] in order to decide, within the limits of human
fallibility, the question of guilt or innocence of one of its citizens.” Wainwright v.
Sykes, 433 U.S. 72, 90 (1977); see also McFarland v. Scott, 512 U.S. 849, 859 (1994)
(stating that a “criminal trial is the ‘main event’ at which a defendant’s rights are to
be determined”). The States, therefore, “possess primary authority for defining and
enforcing the criminal law. In criminal trials they also hold the initial responsibility
for vindicating constitutional rights.” Engle v. Isaac, 456 U.S. 107, 128 (1982).
Federal habeas law “recognizes a foundational principle of our federal system: State
courts are adequate forums for the vindication of federal rights.” Burt v. Titlow, ___
U.S. ___, 134 S. Ct. 10, 15 (2013); see also Woodford v. Visciotti, 537 U.S. 19, 24
(2002) (recognizing AEDPA’s“presumption that state courts know and follow the



13
       (...continued)
1991). At any rate, if Williams intended to raise a separate Strickland claim based on the
paucity of mitigating evidence presented in the punishment phase, this Court’s finding of
constitutional error relating to the Penry claim renders other punishment-phase claims moot.

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law”). Given this required deference to the state court system, several principles
circumscribe both the nature of federal habeas review and the availability of federal
habeas relief.
            If the inmate has presented his federal constitutional claims to the state courts
in a procedurally proper manner, and the state courts have adjudicated their merits,
AEDPA provides for a deferential federal review. “[A] habeas petitioner has the
burden under AEDPA to prove that he is entitled to relief.” Montoya v. Johnson, 226
F.3d 399, 404 (5th Cir. 2000); see also DiLosa v. Cain, 279 F.3d 259, 262 (5th Cir.
2002). “[T]ime and again,” the Supreme Court “has instructed that AEDPA, by
setting forth necessary predicates before state-court judgments may be set aside,
‘erects a formidable barrier to federal habeas relief for prisoners whose claims have
been adjudicated in state court.’” White v. Wheeler, ___ U.S. ___, 136 S. Ct. 456, 460
(2015) (quoting Titlow, 134 S. Ct. at 16). Under AEDPA’s rigorous showing, an
inmate may only secure relief after showing that the state court’s rejection of his claim
was either “contrary to, or involved an unreasonable application of, clearly established
Federal law, as determined by the Supreme Court of the United States,” or was “based
on an unreasonable determination of the facts in light of the evidence presented in the
State court proceeding.” 28 U.S.C. § 2254(d)(1), (2).
            Inmates arguing legal error in state court decisions must comply with
§ 2254(d)(1)’s “contrary to” and “unreasonable application” clauses. See Bell v.
Cone, 535 U.S. 685, 694 (2002). A petitioner does not merit relief by merely showing
legal error in the state court’s decision. See White v. Woodall, ___ U.S. ___, 134 S.
Ct. 1697, 1702 (2014) (stating being “merely wrong” or in “clear error” will not
suffice for federal relief under AEDPA). In contrast to “ordinary error correction
through appeal,” AEDPA review exist only to “guard against extreme malfunctions
in the state criminal justice systems . . . .” Woods v. Donald, ___ U.S. ___, 135 S. Ct.
1372, 1376 (2015) (quotation omitted). “[F]ocus[ing] on what a state court knew and

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did,” Pinholster, 563 U.S. at 182, AEDPA requires inmates to “‘show that the state
court’s ruling on the claim being presented in federal court was so lacking in
justification that there was an error well understood and comprehended in existing law
beyond any possibility for fairminded disagreement.’” Woodall, 134 S. Ct. at 1702
(quoting Richter, 562 U.S. at 103); Berghuis v. Thompkins, 560 U.S. 370, 380 (2010);
Williams v. Taylor, 529 U.S. 362, 413 (2000). “If this standard is difficult to meet, that
is because it was meant to be.” Richter, 562 U.S. at 102.
            A petitioner challenging the factual basis for a state decision must show that it
was an “unreasonable determination of the facts in light of the evidence . . . .” 28
U.S.C. § 2254(d)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 340 (2003). “[A]
state-court factual determination is not unreasonable merely because the federal
habeas court would have reached a different conclusion in the first instance.” Wood
v. Allen, 558 U.S. 290, 301 (2010). A federal habeas court must also presume the
underlying factual determinations of the state court to be correct, unless the inmate
“rebut[s] the presumption of correctness by clear and convincing evidence.” 28
U.S.C. § 2254(e)(1); see also Miller-El, 537 U.S. at 341; Young v. Dretke, 356 F.3d
616, 629 (5th Cir. 2004) (“As a federal habeas court, we are bound by the state habeas
court’s factual findings, both implicit and explicit.”).
            An inmate’s compliance with 28 U.S.C. § 2254(d) does not guarantee habeas
relief. See Horn v. Banks, 536 U.S. 266, 272 (2002) (observing that no Supreme
Court case “ha[s] suggested that a writ of habeas corpus should automatically issue
if a prisoner satisfies the AEDPA standard[.]”); Robertson v. Cain, 324 F.3d 297, 306
(5th Cir. 2003) (finding that 28 U.S.C. § 2254(d) “does not require federal habeas
courts to grant relief reflexively”). A habeas petitioner meeting his AEDPA burden
generally must still comply with weighty jurisprudential tenets, such as the harmless
error doctrine and the non-retroactivity principle, that bridle federal habeas relief. See
Thacker v. Dretke, 396 F.3d 607, 612 n.2 (5th Cir. 2005). Thus, any error cannot

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require habeas relief unless it “ha[d] a ‘substantial and injurious effect or influence in
determining the jury’s verdict,’” Robertson, 324 F.3d at 304 (quoting Brecht v.
Abrahamson, 507 U.S. 619, 629 (1993)), or would not require the creation of new
constitutional law, see Banks, 536 U.S. at 272 (relying on Teague v. Lane, 489 U.S.
288 (1989)).
            With those standards in mind, the Court turns to the exhausted issues presented
in Williams’ federal petition.
II.         GUILT/INNOCENCE PHASE CLAIMS
            Claims 1 through 5 from Williams’ federal petition raise issues from the
guilt/innocence phase of trial. As discussed previously, only trial phase claims 3(e);
4(a), (c), (e), (f) and (g) are properly before this Court. Williams has not shown that
those claims merit federal habeas relief.
            A.          The Prosecutor Improperly Told Jurors to Consider the Victim’s
                        Family in the Guilt/Innocence Phase (Claim 3(e))
            Williams argues that the prosecution’s plea for sympathy toward the victim’s
family in the guilt/innocence phase summation violated his constitutional rights [Doc.
# 7, pp. 94-96]. The prosecutor closed the guilt/innocence arguments by reminding
jurors that: “Detective Shirley’s family doesn’t have his love and comfort any more.
He is not going to be able to come home and tell them that he loves them. He is not
going to be around at Christmas.” Tr. Vol. 24 at 118. Trial counsel objected, and the
trial court instructed the jury to “disregard [that] line of argument.” Tr. Vol. 28 at
119. The trial court denied trial counsel’s request for a mistrial. Tr. Vol. 28 at 119.
            In Williams’ 1993 habeas application he argued that the State’s summation
violated his rights to due process and a fair trial. S.H.R. at 414. The state habeas
court provided two reasons for denying this claim. First, the state habeas court found
that trial counsel “objected to the State’s argument concerning the complainant and
his family, and that the trial court instructed the jury to disregard such argument . . . .”


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S.H.R. at 757. The state habeas court concluded that “harm, if any, in the State’s
guilt-innocence argument . . . was cured by the trial court’s instruction to disregard.”
S.H.R. at 776.14 Second, the state habeas court found no constitutional error in what
was essentially victim-impact argument. Citing Texas law, the state habeas court
found that “the result of the proceeding would [not] have been different based on the
overwhelming evidence of defendant’s guilt” and held that Williams “fail[ed] to show
that the State’s jury argument that the complainant’s family no longer had his love,
comfort, and presence at Christmas deprived [him] of due process and a fair trial.”
S.H.R. at 776.


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        On state habeas review, Williams raised two grounds for relief based on the
prosecutor’s arguments. Claim 3(e) in Williams’ federal petition renews his tenth ground for
state habeas relief. Williams’ ninth state habeas claim contended that the prosecutor’s
argument violated his constitutional rights through an emotional appeal that posed a
juxtaposition between Williams’ character and that of the victim. Tr. Vol. 28 at 90-91, Tr.
Vol. 28 at 118. At other points in guilt/innocence closing arguments, the prosecutor referred
to Detective Shirley’s experience, dedication, and success as a police officer. Tr. Vol. 28 at
15. The prosecutor closed his arguments by reminding jurors generally: “When a policeman
is killed in the line of duty it is something extremely serious. They get out and protect each
and every one of us each and every day.” Tr. Vol. 28 at 20-21. The prosecutor also referred
to Detective Shirley as “a dedicated police officer; and because of his dedication he was
gunned down, killed like dog on the streets by that man sitting right here.” Tr. Vol. 28 at 4.
The prosecutor’s use of the phrase “like a dog” harkened back to testimony that, after seeing
reports about the murder on television, Williams told a witness that “he didn’t want to be shot
down like a dog.” Tr. Vol. 26 at 651, 664; Tr. Vol. 27 at 737-38. Mr. Schaffer renewed, but
then abandoned, that claim. The state habeas court recognized that Mr. Schaffer abandoned
the ninth ground for habeas relief, S.H.R. at 757, and thus only considered Williams’
complaint about the prosecution’s plea for sympathy for the victim’s family. The Court,
therefore, will only consider the arguments made in the tenth ground from his 1993
application. In any event, the allegations contained in Williams’ ninth ground for relief do
not present a basis for federal relief. The Supreme Court has never held that testimony about
a victim’s character is completely irrelevant to a jury’s evaluation of guilt. Even when
identifying the potential for error in some cases, the Supreme Court in Payne v. Tennessee,
501 U.S. 808, 823 (1991), assumed that testimony about a victim's good character often has
“relevance at the guilt phase of the trial.” See also Bennett v. Angelone, 92 F.3d 1336, 1348
(4th Cir.1996) (“Payne suggests that limited background evidence may be admitted—indeed,
may have to be admitted—at the guilt phase of trial.”).

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            Williams’ federal petition again argues that “[v]ictim character and impact
evidence has no relevance whatsoever to the question of guilt.” [Doc. # 7, p. 96].
Williams, however, does not respond to the state habeas court’s primary holding: that
the trial court cured any error by instructing jurors to disregard that line of argument.
Federal courts “presume that jurors understand and follow their instructions,
abandoning that presumption only when there is an overwhelming probability that the
jury will be unable to follow the instruction and there is a strong probability that the
effect is devastating.” United States v. Patino-Prado, 533 F.3d 304, 313 (5th Cir.
2008) (quotation omitted); see also Weeks v. Angelone, 528 U.S. 225, 234 (2000);
Richardson v. Marsh, 481 U.S. 200, 211 (1987). Nothing suggests that jurors could
not have followed the trial court’s instruction to disregard.
            The state habeas court also found that the State’s argument, notwithstanding,
did not violate Williams’ rights. S.H.R. at 776. The admission of victim-impact
testimony does not violate the Fourteenth Amendment unless the evidence introduced
“is so unduly prejudicial that it renders the trial fundamentally unfair.” Payne v.
Tennessee, 501 U.S. 808, 824 (1991). Even when the State presents victim-impact
testimony or argument in the guilt/innocence phase, an inmate must still show
fundamental unfairness resulting therefrom. See Castillo v. Johnson, 141 F.3d 218,
223–24 (5th Cir. 1998). A trial is fundamentally unfair when the prosecutor engages
in persistent or pronounced misconduct, or the evidence was so insubstantial that in
all probability but for the remarks the jury would not have returned a guilty verdict.
See Barrientes v. Johnson, 221 F.3d 741, 753 (5th Cir. 2000); Rushing v. Butler, 868
F.2d 800, 806 (5th Cir. 1989).
            The State’s reference to the family’s loss was fleeting and isolated. Respondent
observes that “the complained-of remarks were brief–they constitute three short
sentences in more than one-hundred pages of jury argument” [Doc. # 20, p. 58]. The
evidence of guilt far outweighed the brief mention of victim’s family. Thus, the

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alleged improper remarks did not cast serious doubt on the correctness of the jury’s
verdict. Williams has not shown that the state court’s resolution of this claim was
contrary to, or an unreasonable application of, federal law.          See 28 U.S.C.
§ 2254(d)(1).
            B.          Racial Discrimination in the Prosecution’s Use of Peremptory
                        Strikes (Claim 4(a))
            The State used six peremptory challenges to remove African-American
prospective jurors from the panel. No black jurors served at Williams’ trial. Williams
claims that the prosecution’s racially motivated use of peremptory strikes violated his
constitutional rights under the Sixth, Eighth, and Fourteenth Amendments [Doc. # 7,
pp. 108-11]. The Court will discuss the background of Williams’ jury selection before
turning to AEDPA review of the state court’s resolution of his Batson claim.
                        1.             Background
            The State of Texas tried Williams in 1983 before the law held prosecutors
accountable for their use of peremptory strikes against individual jurors. Courts
assessed claims of discrimination in the jury selection process under Swain v.
Alabama, 380 U.S. 202 (1965), which required a defendant to “prove that his
prosecutor had a systematic and intentional practice of excluding blacks from traverse
juries in criminal trials through the exercise of peremptory challenges, and that this
practice continued unabated in petitioner’s trial.” Evans v. Cabana, 821 F.2d 1065,
1068 (5th Cir. 1987). In essence, Swain “allowed prosecutors to use peremptory
strikes to create an all-white jury in individual cases, as long as they did not
systematically keep blacks off juries.” Byrd v. Delo, 917 F.2d 1037, 1041 (8th Cir.
1990). As a practical matter, lower courts used Swain to place “a crippling burden of
proof” on defendants. As the Supreme Court later noted, Swain “left prosecutors’ use
of peremptories largely immune from constitutional scrutiny.” Miller-El v. Dretke,
545 U.S. 231, 238 (2005); see also United States v. Wilson, 816 F.2d 421, 424 (8th


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Cir. 1987) (“Prosecutors seem . . . to have been relying on Swain’s evidentiary
standard to insulate themselves from being forced by the district court to provide the
reasons for their use of peremptory strikes to eliminate black jurors.”).
            The record is unclear as to the racial demographics of the entire jury venire in
this case. The record, however, specifies the race of some jurors that the State
removed. Three African-American prospective jurors were dismissed for cause.15
The prosecutor used peremptory strikes to remove six African-American prospective
jurors: Mansfield Nelson (Tr. Vol. 9 at 810); Jennie Henley (Tr. Vol. 9 at 1359);
Pearlie Mae Keller (Tr. Vol. 14 at 1790); Gussie Mae Jones (Tr. Vol. 14 at 1804);
Wilburn Gibson (Tr. Vol. 16 at 2071); and Nan Roque (Tr. Vol. 18 at 2374).
            Framing his objection in the context of the Swain requirements, defense counsel
moved for a mistrial before the jury was seated because the State had consciously and
systematically excluded all blacks from the jury. (Tr. Vol. 23 at 14). The trial court
summarily denied the defense’s objection, and the law at the time of trial did not
require it to do more.
            On direct appeal, Williams complained that the prosecutor used five peremptory
strikes to remove African-American prospective jurors solely on the basis of race.16
The Court of Criminal Appeals relied on Swain to affirm the lower court’s judgment.
Specifically, the Court of Criminal Appeals held that “[t]he mere exercise of
peremptory challenges is not sufficient to sustain the ground of error; there is no
showing of systematic exclusion.” Williams v. State, 682 S.W.2d 538, 543 (Tex.
Crim. App. 1984).
            Two years after the Court of Criminal Appeals denied Williams’ appeal, but


15
       The following black prospective jurors were removed for cause: Gertrude Jules (Tr.
Vol. 5 at 82); Doran Ewing (Tr. Vol. 9 at 922); and Arthelious Goran (Tr. Vol. 21 at 2755).
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       Williams’ direct appeal did not include Mr. Gibson in the list of jurors against whom
the State exercised racially motivated strikes.

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during the pendency of his petition for a writ of certiorari, the United States Supreme
Court decided Batson. In contrast to the Swain framework, Batson did not require a
criminal defendant to demonstrate a history of discriminatory practices by the
prosecution. Batson individualized a criminal defendant’s ability to show racial
animus, allowing a defendant to “make a prima facie showing of purposeful racial
discrimination in selection of the venire by relying solely on the facts concerning its
selection in his case.” Batson, 476 U.S. at 95.
            Batson created the scaffolding that a defendant would need to prove racial
discrimination. When a party raises a Batson challenge, courts engage in a three-step
burden shifting review:
            First, the trial court must determine whether the defendant has made a
            prima facie showing that the prosecutor exercised a peremptory
            challenge on the basis of race. Second, if the showing is made, the
            burden shifts to the prosecutor to present a race-neutral explanation for
            striking the juror in question. Although the prosecutor must present a
            comprehensible reason, the second step of this process does not demand
            an explanation that is persuasive, or even plausible; so long as the reason
            is not inherently discriminatory, it suffices. Third, the court must then
            determine whether the defendant has carried his burden of proving
            purposeful discrimination. This final step involves evaluating the
            persuasiveness of the justification proffered by the prosecutor, but the
            ultimate burden of persuasion regarding racial motivation rests with, and
            never shifts from, the opponent of the strike.
Rice v. Collins, 546 U.S. 333, 973-74 (2006) (quotations and citations omitted); see
also Johnson v. California, 545 U.S. 162, 168 (2005); Miller-El v. Dretke, 545 U.S.
231, 251-52 (2005). Batson’s burden-shifting scheme placed a greater emphasis on
development of a factual record, placing primary importance on specific details
reflecting the contemporaneous trial events rather than broad arguments that defined
effective Swain claims.
            With Batson’s focus on why a prosecutor removed specific individuals, the trial
record in this case was insufficient to clarify the intent behind the dismissal of

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minority prospective jurors. After the Supreme Court granted his petition for
certiorari review and remanded the case, Williams v. Texas, 479 U.S. 1074 (1987),17
the Texas Court of Criminal Appeals ordered the state trial court to hold a Batson
hearing, Williams v. State, 731 S.W.2d 563 (Tex. Crim. App. 1987).
            Five years after jury selection, the trial court held a hearing to discuss the
State’s reasons for striking each black prospective juror. Williams called three
criminal defense attorneys to discuss the pattern and practices of the Harris County
prosecutor’s office at the time of trial. Each testified that the State would not accept
African-American jurors in capital cases unless they could not find a way to dismiss
them. The state trial court subsequently did not make any findings regarding the
criminal defense attorneys’ testimony.
            While both prosecutors had participated in voir dire, Assistant District Attorney
Keno M. Henderson “had ultimate responsibility for exercising the peremptory strikes.
Accordingly Mr. Henderson provided the reasons for the State striking the six black
veniremembers.” Supplemental Clerk’s Record at 31. In the 1988 Batson hearing,
prosecutor Henderson provided narrative testimony about something the law did not
require him to do at the time of trial: provide justifications the State’s exercise of
peremptory challenges that resulted in a jury without any African-American jurors.
Courts view an attorney’s post hoc explanation for peremptory strikes with some
suspicion. See Jones v. Butler, 864 F.2d 348, 370 (5th Cir. 1988) (finding, in a case
with a shorter period between trial and the Batson hearing than the instant one, that
“[y]ears after trial, the prosecutor cannot adequately reconstruct his reasons for
striking a venireman”).                              Such justifications are “subject to the usual risks of
imprecision and distortion from the passage of time.” Miller-El, 537 U.S. at 243.
            The state trial court, nevertheless, found that Mr. Henderson gave justifications

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       The Supreme Court vacated the judgment after deciding that Batson applied
retroactively to all cases not yet final. See Griffith v. Kentucky, 479 U.S. 314 (1987).

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that “were credible, plausible, and legitimate . . . .” S.S.H.R. at 165. The trial court
found that “the State’s general strategy for jury selection in a capital case was to
accept the first twelve people who could return a death penalty verdict under the
unique set of facts presented in the subject case.” S.S.H.R. at 164; see also
Supplemental Clerk’s Record at 29-40. In this case, the state trial court found that
“the State was looking for a juror who was intelligent, capable of understanding the
issues, capable of concentrating on the issues without outside interference, capable of
making an informed decision based on the evidence, and not prejudiced against either
police officers or the State.” S.S.H.R. at 165; see also Williams, 804 S.W.2d at 98.
            The Court summarizes Mr. Henderson’s explanations for each African-
American juror who was removed:
            •           Mr. Nelson did not believe in the death penalty in any
                        circumstance, could not impose a sentence that resulted in death,
                        became agitated during questioning, and changed his answers
                        depending on who was questioning him.

            •           Ms. Henley preferred a sentence of life imprisonment to death,
                        had difficulty understanding and answering questions, often made
                        no sense, exhibited a lack of concern for the legal process, and
                        expressed no problem with people fighting police officers.

            •           Ms. Keller possibly had weak ties to the community, had physical
                        difficulties and parental responsibilities that would make it
                        difficult to serve, initially had said that she had never thought
                        about the death penalty but later expressed long-standing concerns
                        about it, said that she could not vote for death, said she would
                        panic if called as a juror, and gave inconsistent answers on cross-
                        examination.

            •           Ms. Jones vacillated on whether she could answer the special
                        issues, had parental responsibilities that would make it difficult for
                        her to focus on a capital murder case, was confused with
                        questions, and gave inconsistent answers.

            •           Mr. Gibson said that he had never thought about the death penalty

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                        but later showed a predisposition against capital punishment, said
                        that he could not answer the special issues, would have difficulty
                        providing for his family during jury service, and vacillated in his
                        opinion of the death penalty.

            •           Ms. Roque had parental responsibilities that would make jury
                        service difficult, was not strongly in favor of the death penalty,
                        would hold the State to a higher burden of proof than required by
                        law, had a bias against law enforcement, and had difficulty
                        understanding legal proceedings.
            The trial court also found that Mr. Henderson gave “neutral, unambiguous, and
non-racial” reasons for exercising those peremptory challenges . . . .” S.S.H.R. at 165.
On those findings, the trial court concluded that “the prosecutor in the instant case did
not exercise his peremptory challenges in a discriminatory manner to exclude
venirepersons based upon racial considerations, nor did he, in any way, purposefully
or deliberately deny jury participation to black persons because of race.”
Supplemental Clerk’s Record at 39.
            On appeal, the Texas Court of Criminal Appeals “examine[d] the record to
determine whether the explanations provided by the State were indeed race neutral on
their face, and if so, whether there is evidence which indicates that, notwithstanding
such appearances, the utilization of the jury strikes were nothing more than a pretext
for the racially motivated exercise of the peremptory challenge which provided the
prosecutor with the opportunity to discriminate.” Williams, 804 S.W.2d at 102. The
Court of Criminal Appeals concluded after its review that the State’s reasons for
dismissing the prospective jurors were legitimate and there was no evidence that the
State put forth mere pretexts to hide its purposeful discrimination. See id. at 105.
            During the pendency of the state habeas proceedings, the law again changed.
In 2005, the United States Supreme Court decided Miller-El v. Dretke, 545 U.S. 231
(2005), which recognized that Batson’s “individualized focus came with a weakness
of its own owing to its very emphasis on the particular reasons a prosecutor might

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give. If any facially neutral reason sufficed to answer a Batson challenge, then Batson
would not amount to much more than Swain.” Miller-El emphasized that a defendant
at the third step of the Batson inquiry could “rely on all relevant circumstances to raise
an inference of purposeful discrimination.” Id. at 240. Miller-El identified various
factors that may give rise to an inference of discrimination: a statistical review of
stricken black jurors in comparison to the venire; “side-by-side comparisons of some
black venire panelists who were struck and white panelists allowed to serve”; “broader
patterns of practice during the jury selection” including the general policy and practice
of the prosecutor’s office; and “contrasting voir dire questions posed respectively to
black and nonblack panel members.” Id. at 241, 253.
            After the advent of Miller-El, Williams filed a Supplement to Amended
Application for a Writ of Habeas Corpus asking the Texas courts to reconsider the
State’s peremptory strikes against black jurors. Williams, however, narrowly focused
the arguments in his successive state habeas application. While briefly mentioning
that the “prosecutor used his peremptory challenges to exclude 100 percent of the
eligible black veniremen,” Williams centered his briefing nearly exclusively on one
element of the Miller-El analysis, a comparison between one stricken black juror, Ms.
Jones, and one white juror the State accepted. Williams challenged one of the reasons
the prosecutor gave for striking Ms. Jones–that she “would have a problem finding
someone to take care of her children only if they got sick or the jury were
sequestered–because “[t]he prosecutor was willing to accept a white female who had
to care for a physically disabled husband . . . .” S.H.R. at 663.
            In a footnote, however, Williams made a broader allegation, but without
providing substantiation:
            There were additional indications that the State exercised peremptory
            challenges based on race. The prosecutors shuffled several of the venire
            panels before asking questions. They questioned blacks differently than
            non-blacks regarding their views on the death penalty and the minimum

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            acceptable sentence. The district attorney’s manual also expressed a
            general policy of excluding blacks from juries.
S.S.H.R. at 11.
            The Court of Criminal Appeals found that Williams’ supplement to his habeas
application satisfied the requirements of Texas Code of Criminal Procedure article
11.071, § 5, for the filing of a subsequent state application. On remand, the state
habeas court held a June 7, 2010, hearing on Williams’ Miller-El claim. Williams’
arguments in the hearing expounded on the allegations in his successive state habeas
application. Williams discussed more broadly the concerns raised by Miller-El,
placing greater emphasis on the composition of the venire as a whole in comparison
to the stricken jurors. In addition, Williams extensively discussed a then-recent case
in which a federal district court had found Batson error in a contemporaneous case in
which Mr. Henderson also represented the State. Rosales v. Dretke, H-03-CV-1016,
[Doc. # 109] (S.D. Tex. Dec. 12, 2008). In Rosales, the petitioner had used the
testimony from criminal defense attorneys adduced in Williams’ Batson hearing to
argue that the Harris County District Attorney’s Office had a pattern and practice of
removing black jurors at the time of Williams’ trial.18

18
            The Rosales decision said:

            Petitioner draws the Court’s attention to Mr. Henderson’s prosecution against
            Arthur Lee Williams, Jr. The defense accused Mr. Henderson of improperly
            striking all black panel members. While the Court of Criminal Appeals found
            that Mr. Henderson provided race neutral justifications for his strikes,
            testimony in the related evidentiary hearing showed that prosecutors in
            general, and Mr. Henderson specifically, rarely if ever allowed minorities to
            sit on capital juries. Defense attorneys testified that prosecutors used disparate
            questioning techniques in an effort to disqualify minority jurors. While the
            state courts found no error in that case, the testimony given therein proved that
            few minorities served on Harris County juries. See Williams v. State, 804
            S.W.2d 95 (Tex. Crim. App. 1991).

                                                                                       (continued...)

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            The trial court signed the State’s proposed findings and conclusions. The
decision extensively compared Ms. Jones’ questioning with the white jurors and the
entirety of the jury panel. S.S.H.R. at 166-70. With that comparison, the state habeas
court again found that “the State’s decision to peremptorily excuse prospective juror
Jones, resulting, in part, from Jones’ hardship in the event of a lengthy trial or
sequestration, was not based on race, but was consistent with the State’s general, race-
neutral strategy for finding jurors . . . .” S.S.H.R. at 170. The state habeas court
concluded that Williams failed to show “disparate treatment . . . or that the State’s
proffered reasons . . . w[ere] a pretext for racial discrimination.” S.S.H.R. at 170. The
Court of Criminal Appeals adopted the lower court’s findings and conclusions and
denied relief.
                        2.             Williams’ Arguments on Federal Review
            Williams has renewed his Batson claim on federal review. Williams’ petition
provides two theories to find Batson error. First, Williams disputes Mr. Henderson’s
race-neutral explanation because not all black jurors expressed an inability to consider
a death sentence and, contrary to his testimony, did not express difficulty
understanding his questions. Second, Williams summarily states that all black jurors
“were excluded pursuant to the practice and policy of the Harris County District
Attorney’s in general and was the regular practice of the prosecutor in this case” [Doc.
# 7, p. 110]. Williams’ arguments are insufficient for a meritorious Batson claim,
particularly in light of AEDPA deference owed to the state court findings.19


18
      (...continued)
Rosales v. Dretke, H-03-CV-1016, [Doc. # 109] (S.D. Tex. Dec. 12, 2008), at 19-20.
19
      In denying Respondent’s first motion for summary judgment, this Court observed that
Williams’ federal petition “provides only cursory briefing relating to the Batson issue . . . and
importantly fails to identify how the state court’s detailed review of that claim was an
unreasonable application of federal law” [Doc. # 26, p. 10]. The Court invited Williams to
                                                                                (continued...)

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            “[A] habeas petitioner has the burden under AEDPA to prove that he is entitled
to relief.” Montoya v. Johnson, 226 F.3d 399, 404 (5th Cir. 2000); see also DiLosa
v. Cain, 279 F.3d 259, 262 (5th Cir. 2002). A petitioner cannot meet this burden by
merely alleging constitutional error in the state courts’ factual findings. Given “the
importance of demeanor and credibility evidence in making such determinations,”
federal courts “give strong deference to the determination of the trial judge [in Batson
claims], consistent with AEDPA.” Woodward v. Epps, 580 F.3d 318, 336 (5th Cir.
2009); see also Hernandez v. New York, 500 U.S. 352, 369 (1991) (“[W]e decline to
overturn the state trial court’s finding on the issue of discriminatory intent unless
convinced that its determination was clearly erroneous.”). This Court’s role is “to
determine whether the trial court’s determination of the prosecutor’s neutrality with
respect to race was objectively unreasonable and has been rebutted by clear and
convincing evidence to the contrary.” Miller-El, 537 U.S. at 341. Williams’ federal
briefing must do more than allege error, he must provide clear and convincing
evidence that the state court factfindings were incorrect, 28 U.S.C. § 2254(e)(1), and
that its decision was unreasonable, 28 U.S.C. § 2254(d)(2). See Davis v. Ayala, ___
U.S. ___, 135 S. Ct. 2187, 2199 (2015) (emphasizing AEDPA’s impact on Batson
claims).
            Williams first states that “[t]he voir dire of those black jurors does not support
a conclusion that Keno Henderson . . . exercised these peremptory challenges for race
neutral reasons,” specifically because “[t]hree of the black jurors who were excluded


19
       (...continued)
provide “as suggested by the Miller-El cases, a side-by-side comparison of peremptorily
struck jurors and those empaneled, a review of whether there was disparate questioning by
prosecutors, and whether there is historical discrimination by the prosecutorial office or the
individual prosecutors themselves.” Id. The Court also invited the parties to discuss, as the
state courts had on habeas review, Rosales v. Dretke, H-03-CV-1016,(S.D. Tex. Dec. 12,
2008) [Doc. # 109], a case in which a Batson violation was found involving the same
attorney who prosecuted Williams. [Doc. # 26, p. 10].

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. . . expressed no opposition to the death penalty. Instead, the prosecutors alleged that
all three were excluded because they could not understand his questions” [Doc. # 33,
p. 17]. Williams’ briefing consists only of broad statements about the State’s use of
strikes without particularizing his allegations or giving specific examples. Williams’
federal briefing does not identify which stricken jurors did not express opposition to
capital punishment. See Murphy v. Dretke, 416 F.3d 427, 436-37 (5th Cir. 2005)
(finding that petitioner’s reference to “the entire voir dire record” did not show “that
the State’s individualized reasons for peremptorily striking each African-American
venireperson at issue were actually a pretext for racial discrimination or that any
alleged disparate questioning did not result from reasons other than race”). This is
particularly problematic because prosecutor Henderson gave more than one reason for
striking each prospective jurors.
            Williams also makes two closely related arguments. He contends that “[a]
comparison to other jurors is unnecessary in light of the record and the findings of the
District Court in Rosales v. Quarterman,[No. H-03-1016,] 2008 U.S. Dist. LEXIS
125130 (S.D. Tex. Dec. 12, 2008).”20 In Rosales, the petitioner raised a Batson claim
on his conviction which occurred in the same time period as the State’s prosecution
of Williams. The federal district court held an evidentiary hearing in which one of the
trial prosecutors testified. After that hearing, and in light of the totality of the
circumstances, the federal district court granted relief on the petitioner’s Batson claim.
Williams’ recent briefing highlights two factors from the Rosales decision: that (1)


20
        Williams further “asserts that all Black jurors were excluded pursuant to the practice
and policy of the Harris County District Attorney’s [Office] in general and was the regular
practice of the prosecutor in this case” [Doc. # 33, p. 17]. Williams contends that the reasons
Mr. Henderson gave for striking jurors “cannot be given credence considering his pattern
practice and the practice of the Harris County District Attorney’s Office. Williams was
entitled to a trial free from discrimination” [Doc. #33, p. 18]. Other than reference to the
Rosales case, however, Williams has presented no evidence that the prosecutor’s office had
a policy of systemic racial discrimination.

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one of the prosecutors in the instant case, Keno Henderson, also tried the defendant
in Rosales21 and (2) Mr. Henderson’s “pattern practice and the practice of the Harris
County District Attorney’s Office” to discriminate in jury selection.
            The federal district court in Rosales discussed those two factors supporting
habeas relief.                 Those, however, were only two of six factors that “while not
conclusively proving discrimination, suggest that race was on the prosecutors’ minds
as they selected the jury.” 2008 U.S. Dist. LEXIS 125130, at p. 14. Those factors did
“not conclusively prove that the prosecution struck the jurors because of their race,”
but were “inferences creat[ing] a backdrop against which the Court must evaluate the
prosecution’s justifications.” Id. at p. 20-21.
            Recognizing that these two factors are significant, the Court concludes
Williams’ token showing of discriminatory intent is insufficient to merit federal
habeas relief. The Supreme Court has not held that a history of discriminatory use of
peremptory strikes is sufficient alone to merit Batson relief. Under the Miller-El
decisions, a court must consider all relevant circumstances surrounding jury selection.
However, a prosecutor’s personal and his office’s general prior history of
discrimination, while relevant, does not of itself entitle an inmate to habeas relief. See
Miller-El, 537 at 322 (2003) (discussing the prosecution’s questioning where the same
prosecutors engaged in disparate questioning in another case where the court found
a Batson violation); Reed v. Quarterman, 555 F.3d 364, 382 (5th Cir. 2009) (engaging
in a full Batson analysis in a case involving the same prosecutors who tried the
defendant in Miller-El). The Court must analyze the discrete circumstance of each
case, with a focus on individual questioning of the prospective jurors and the reasons



21
        The parties in Rosales did not call Mr. Henderson as a witness, though he provided
deposition testimony. The federal district court observed that: “Because Mr. Henderson did
not testify at the evidentiary hearing, the Court cannot make any credibility finding regarding
his justifications beyond that disclosed by the naked record.”

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given by the prosecutors the strikes, in context of the whole jury selection.
            Despite a suspicious pattern in Williams’ trial, the Court cannot conclude, even
under Miller-El, that Williams has met Batson’s third step of proving purposeful
discrimination. The state courts extensively reviewed the jury selection and, as to
each potential juror, addressed the post-trial explanations given by the trial prosecutor
for the use of peremptory strikes. Williams has consistently made allegations about
long-standing racism in the Harris County District Attorneys’ Office, but Williams has
simply not substantiated his claim that this office pattern was the reason for the strikes
in issue. Williams’ arguments are too conclusory to warrant relief on Batson grounds.
            Federal law requires this Court to defer to the underlying factual findings and
the resultant legal conclusions by the state trial court, the habeas court, and the Texas
Court of Criminal Appeals. On post-Batson remand from Williams’ direct appeal, the
state courts found that Mr. Henderson provided credible race-neutral reasons for
striking each black juror. On state habeas review, the state courts found that at least
one of the rationales withstood comparison to the questioning of non-minority jurors.
Williams has not met AEDPA’s demanding burden to show that the state court was
unreasonable in its appraisal of the prosecutor’s motives.
            In conclusion, despite the concerns about whether the prosecutors struck jurors
on account of their race, namely, the State’s dismissal of all the black jurors, leaving
an all-white jury to sentence Williams to death, and one of Williams’ prosecutors was
already found by a federal court to have taken race into consideration in selecting
jurors in another trial, leaving a possibility that race played a factor in jury selection,
the Court is constrained to conclude that Williams has not made a persuasive showing
of inferences suggesting purposeful discrimination in the use of peremptory strikes as
to specific jurors or that the prosecutor actually engaged in discriminatory practices
in his case. Williams, therefore, has not shown an entitlement to federal habeas relief
on Batson grounds.

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            C.          Failure to Excuse Prospective Jurors for Cause (Claims 4(c), 4(f) and
                        4(g))
            Williams raises three claims (4(c), (f), and (g)) alleging that the trial court erred
by not excusing three prospective jurors for cause: Patricia Hamilton, Carl Belcher,
and William Gene Meador [Doc. # 20, pp. 114, 118-21]. Williams provides reasons
for which the defense would wish to excuse each of the challenged jurors.22 The trial
court denied Williams’ challenges for cause with respect to each of these prospective
jurors. Tr. Vol. 13 at 1696; Tr. Vol. 14 at 1747-48; Tr. Vol. 17 at 2212. Williams
then exercised peremptory challenges to remove each from the jury panel.
            In all three claims that challenge the trial court’s failure to remove prospective
jurors for cause, the harm to Williams was the loss of the peremptory strikes.23 The

22
        Williams argues that Patricia Hamilton was acquainted with the victim’s family (claim
4(c)). Ms. Hamilton testified that she belonged to the same “quite large” church as the victim
and his family. Ms. Hamilton knew who the victim’s wife was, but she “did not have a
relationship with the wife. I said I knew her. I would not consider myself a close friend or
anything to her.” Ms. Hamilton explained that she had never been introduced to the victim.
Ms. Hamilton expressed that her relationship would not cause any concern for her ability to
serve as a juror.
        Williams argues that Carl Belcher had a bias against life imprisonment for capital
murder (claim 4(f)). Mr. Belcher initially stated that he did not think that life imprisonment
was a proper punishment for someone convicted of capital murder involving a police officer.
Tr. Vol. 14 at 1746-47. After trial counsel challenged Mr. Belcher for cause, the trial court
asked if he could “set that attitude aside and answer those questions based on the evidence.”
Mr. Belcher answered, “Yes, I could.” Tr. Vol. 14 at 1747-48.
        Williams contends that William Gene Meador could not consider the full range of
punishment (claim 4(g)). Mr. Meador initially stated that he could consider the full range
of punishment, Tr. Vol. 13 at 1662, he immediately backtracked and said that five years
would not be an appropriate sentence for a defendant who had killed someone. Tr. Vol. 13
at 1662. Back-and-forth questioning by the prosecution, the defense, and the trial court
resulted in different answers, most frequently with Mr. Meador opinion that a five year
sentence was too short for murder. Ultimately, Mr. Meador retreated and stated that: “I can
follow the instructions of the Court. If they say five years is sufficient, I might not agree
with it but that is up to the Court.” Tr. Vol. 13 at 1695.
23
            Texas state law entitles the defense to fifteen peremptory challenges. See TEX. CODE
                                                                                    (continued...)

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Supreme Court has “long recognized that peremptory challenges are not of
constitutional dimension.” Ross v. Oklahoma, 487 U.S. 81, 88 (1988); see also
Martinez-Salazar, 528 U.S. 304, 311 (2000) (“[P]eremptory challenges are not of
federal constitutional dimension.”); Gray v. Mississippi, 481 U.S. 648, 663 (1987)
(“Peremptory challenges are not of constitutional origin.”). The Supreme Court has
explained that peremptory challenges are “a means to achieve the end of an impartial
jury.” Ross, 487 U.S. at 88. With the obvious exception of those cases in which
peremptory challenges mask racial or gender discrimination, “it is for the State to
determine the number of peremptory challenges allowed and to define their purpose
and the manner of their exercise.” Id. at 89. Where, as here, the challenged juror was
removed by use of a peremptory challenge, federal habeas corpus relief is available
only if a petitioner demonstrates that the jury ultimately selected to try the case was
not impartial. Ross, 487 U.S. at 85–86.
            Williams summarily argues that the denial of his challenges for cause “force[d]
[him] to accept [at least one] objectionable juror . . . .” [Doc. # 7, p. 114].24 Courts
have recognized that Ross establishes a high threshold for demonstrating error. To
grant relief, a challenged juror must be “partial,” that is, “properly subject to strikes
for cause.” Nethery v. Collins, 993 F.2d 1154, n.20 (5th Cir. 1993); see also
Martinez-Salazar, 528 U.S. at 313 (finding that error under Ross results when a court
seats any juror “who should have been excused for cause”); United States v. Webster,

23
        (...continued)
CRIM. PRO. art 35.15(a). Texas case law allows a trial court to allocate additional peremptory
challenges when the defense expends their original allotment. See Cooks v. State, 844
S.W.2d 697, 717 (Tex. Crim. App. 1992) (“It is clearly within the discretion of the trial court
to grant additional peremptory challenges upon exhaustion of the statutory number of
strikes.”).
24
        Trial counsel informed the trial court that the last two jurors were objectionable to the
defense and they would have been removed by peremptory strike, if the defense had any such
strikes remaining. Tr. Vol. 18 at 3080.

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162 F.3d 308, 341-42 (1998) (distinguishing between an objectionable and partial
juror).
            Williams’ federal briefing does not specify which juror who sat at trial was an
“objectionable juror,” much less why the trial court should have removed that person
for cause. The Court, therefore, denies relief on this ground.
            Alternatively, the state habeas court found that the trial court did not abuse its
discretion in denying the challenge for cause with regard to each of the prospective
jurors. In each instance, the state habeas court found that the prospective juror could
set aside prior opinions or preconceptions and impartially fulfill their responsibility
as a juror. True, each juror was equivocal or halting on different grounds. The back-
and-forth of voir dire questioning left a record in which isolated statements could lead
to different conclusions about each challenged juror’s impartiality. Nevertheless, in
each instance, the state courts made a factual finding that the trial court did not err in
denying the challenge for cause. S.H.R. at 748-51, 772-74. Under the deferential
review afforded state factual findings by AEDPA, Williams has not shown that the
state courts’ factual assessment of the prospective jurors’ ability to serve impartially
was unreasonable.
            Because Williams has shown no prejudice aside from the loss of a peremptory
strike, he has not identified any objectionable juror who served at trial, and the state
courts were not unreasonable in finding that the challenged prospective jurors would
have been impartial, Williams has not shown an entitlement to relief on claims 4(c),
(f), and (g).
            D.          Improperly Excusing Prospective Juror Dorin Keith Ewing (Claim
                        4(e))
            Williams argues that the trial court erred by dismissing prospective juror Dorin
Keith Ewing for cause because of his opinion on the death penalty [Doc. # 7, p. 117].
The trial court and the parties extensively questioned Mr. Ewing who vacillated in his


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ability to answer the special issues in a manner resulting in a death sentence.
            The trial judge first questioned Mr. Ewing, throughout which he consistently
demonstrated an inability to answer the special issue questions because they would
result in a death sentence. Tr. Vol. 9 at 887-90. During questioning by the State, Mr.
Ewing explained that he did not believe in the death penalty and had always felt that
it was “immoral.” Tr. Vol. 9 at 892-93. Mr. Ewing agreed that he “just could not sit
as a juror in a capital murder case because one of the possible punishments might be
‘death.’” Tr. Vol. 9 at 895. Mr. Ewing explained that he could not answer the special
issues “yes” because of his feelings about capital punishment, regardless of the
evidence or the trial court’s instructions. Tr. Vol. 9 at 900, 905.
            During the defense’s questioning, Mr. Ewing reiterated that he did not believe
in the death penalty. Tr. Vol. 9 at 909. Mr. Ewing, however, vacillated as trial
counsel asked him questions about whether he would be able to follow the law and,
based on the evidence, return a guilty verdict. Tr. Vol. 9 at 911-17.
            The trial judge then interrupted the questioning and pointed out to Mr. Ewing
that he had “given opposite answers to the same questions.” Tr. Vol. 9 at 918. Mr.
Ewing acknowledged that he had, but explained: “But I could [answer the special
issues], but I couldn’t be responsible for somebody’s life. That is what I am trying to
say. I could be on the jury; but as far as that decision, that to see if someone lives or
dies–” Tr. Vol. 9 at 918. The trial judge again interrupted and reminded Mr. Ewing
that the jury’s answers to the special issues would decide whether the defendant
received a death sentence. Tr. Vol. 9 at 918. Mr. Ewing again reiterated that he could
not answer the special issues and “be responsible for that.” Tr. Vol. 9 at 919. The
State then asked Mr. Ewing additional questions to which he again demonstrated an
inability to answer the special issue questions. Tr. Vol. 9 at 919-21. The trial court
then excused Mr. Ewing over the defense’s objection. Tr. Vol. 9 at 922.
            Williams argues that the trial court’s excusal of Mr. Ewing violated his rights

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under Witherspoon v. State, 391 U.S. 510, 521 (1968). In Witherspoon, the Supreme
Court held that “a sentence of death cannot be carried out if the jury that imposed or
recommended it was chosen by excluding veniremen for cause simply because they
voiced general objections to the death penalty or expressed conscientious or religious
scruples against its infliction.” 391 U.S. at 522. The Supreme Court in Witherspooon
and its progeny established the general rule that “a juror may not be challenged for
cause based on his views about capital punishment unless those views would prevent
or substantially impair the performance of his duties as a juror in accordance with
his instructions and oath.” Adams v. Texas, 448 U.S. 38, 45 (1980) (emphasis added);
see also Wainwright v. Witt, 469 U.S. 412, 424 (1984). Thus, a death sentence may
not be imposed by a jury selected on “‘any broader basis’ than ability to follow the
law or abide their oaths.” Adams, 448 U.S. at 48 (quoting Witherspoon, 391 U.S. 522
n.21).
            “This standard . . . does not require that a juror’s bias be proved with
‘unmistakable clarity,” particularly because “determinations of juror bias cannot be
reduced to question-and-answer sessions which obtain results in the manner of a
catechism.” Witt, 469 U.S. at 426. Thus, a reviewing court gives deference to a trial
judge who could observe the demeanor of the potential juror. Id. at 424-26. The
exclusion of potential jurors is a question of fact. See McCoy v. Lynaugh, 874 F.2d
954, 960 (5th Cir. 1989); Patton v. Yount, 467 U.S. 1025, 1036 (1984).
            On direct appeal, the Court of Criminal Appeals found that Mr. Ewing was
“properly subject to challenge for cause by the state” because he would “automatically
vote against the death penalty regardless of the evidence.” Williams, 682 S.W.2d at
540. This Court presumes correct state court factual determinations, and the petitioner
has the burden of rebutting these determinations by clear and convincing evidence.
See 28 U.S.C. § 2254(e)(1). This Court can grant federal habeas relief only if the state
court decision “was based on an unreasonable determination of the facts in light of the

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evidence presented in the State court proceeding.” 28 U.S.C. § 2254(d)(2); see also
Fuller v. Johnson, 114 F.3d 491, 500-01 (5th Cir. 1997) (holding that a trial court’s
finding of juror bias is entitled to a presumption of correctness).
            Despite vacillation during the defense’s questioning, Mr. Ewing repeatedly
expressed that his opinion on the death penalty would keep him from answering the
special issues in the State’s favor, regardless of the evidence. Even though looking
at the defense questioning in isolation may have arguably suggested otherwise, a full
review of the record supports the trial court’s granting of a challenge for cause to Mr.
Ewing. Williams has not shown that it was unreasonable to uphold his dismissal for
cause. Williams has not met AEDPA’s high standard with regard to this claim.
            E.          Conclusion of Guilt/Innocence Claims
            Williams has not shown that he merits a new trial under federal law on those
grounds that he exhausted in state court. The Court, therefore, will deny habeas relief
with respect to Williams’ capital conviction.
III.        WILLIAMS’ PENRY CLAIM
            Williams’ federal petition raises issues that relate to the jury’s ability to
evaluate and give effect to mitigating evidence (claims 7; 8(b), (d), and (e)) during the
punishment phase of his trial. The core of Williams’ mitigating evidence claim finds
root in Penry v. Lynaugh, 492 U.S. 302 (1989). Williams’ federal petition argues that
Penry jurisprudence has firmly established that jurors could not consider “mitigating
evidence about his character and background and the circumstances of the offense that
was either irrelevant to, or relevant beyond the scope of, the special verdict questions”
[Doc. # 7, p. 144].
            Mitigating evidence played only a minor role at Williams’ trial. Williams’
attorneys did not call any witnesses or present mitigating evidence in the punishment




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phase.25 Some information that would mitigate a death sentence nonetheless came
before the jury through the defense’s case in the guilt/innocence phase and through
cross-examination of the State’s punishment witnesses.26 Williams’ briefing specifies
the Penry evidence that was not fully available for consideration in jury deliberations.
In particular, Williams points to the circumstances of the offense, including that he
“was extremely shaken and distraught following the shooting”; his remorse for the
crime; and background information, such as his young age, the interest in furthering
his education during incarceration; and his “redeeming character traits” [Doc. #7, p.
145].
            Williams’ jury could only consider mitigating evidence through the special
issue questions, which in this case asked whether (1) he acted deliberately; (2) he
would be a future societal threat; and (3) he acted unreasonably in response to



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            Trial counsel later explained the defense’s actions:

            Before trial I spent all my time preparing for the guilt stage and did not pay
            any attention to the punishment stage. Accordingly I did not determine
            whether there was any mitigating evidence to present. In 1982 , defense
            lawyers did not have much if any guidance regarding the type of mitigating
            evidence that should be offered at the punishment stage of a capital murder
            trial. I did not conduct a mitigation investigation because I did not know what
            it was.
                                               * * * *
            After the jury convicted him of capital murder I felt that the jury would
            sentence him to death no matter what evidence I presented or arguments I
            made.

S.H.R. at 499-500.
26
       The relatively small amount of mitigating evidence at trial has no bearing on
Williams’ Penry claim. Despite its meager role in that proceeding, the Supreme Court has
not “suggested that the question whether mitigating evidence could have been adequately
considered by the jury is a matter purely of quantity, degree, or immutability.” Brewer, 550
U.S. at 294.

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provocation. Williams’ jury did not have a special issue or jury instruction that
specifically told them to consider mitigating evidence.
            This Court must decide if the jury could consider and give effect to the
mitigating evidence before it. In doing so, the Court first outlines the Supreme Court
and Fifth Circuit law relating to Penry claims, then analyzes what evidence comprises
Williams’ Penry claim, and finally discusses whether his jury could fully give it
effect. The Fifth Circuit’s interpretation of modern Penry jurisprudence establishes
that the jury in this case could consider and give effect to some, but not all, of
Williams’ mitigating evidence. The Court accordingly grants habeas relief on
Williams’ Penry claim.
            A.          Penry Jurisprudence
            Much has changed in the three decades since Williams’ jury considered his
sentence. Federal courts have incrementally developed extensive and detailed
jurisprudence involving Texas’ method of placing mitigating evidence before capital
juries. Other decisions have elaborately traced the “long and contentious line of
cases” in which Penry law has evolved. Pierce v. Thaler, 604 F.3d 197, 204 (5th Cir.
2010); see also McGowen v. Thaler, 675 F.3d 482, 490-91 (5th Cir. 2012); Blue v.
Thaler, 665 F.3d 647, 664 (5th Cir. 2011). The Supreme Court first questioned the
absence of a specific mitigation instruction or interrogatory to the jury in 1989. As
a result, the Texas Legislature in 1991 amended the statute regarding the sentencing
scheme to ask the jury a new special issue: “whether, taking into consideration all of
the evidence, including the circumstances of the offense, the defendant’s character and
background, and the personal moral culpability of the defendant, there is a sufficient
mitigating circumstance or circumstances to warrant that a sentence of life
imprisonment without parole rather than a death sentence be imposed.” TEX. CODE
CRIM. PRO. art. 37.0711, § 2(e)(1).
            For the past quarter century, federal courts have grappled with Texas’ pre-1992

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sentencing scheme that lacked a specific mitigation instruction or question. The law
has coalesced into a constitutional expectation that “sentencing juries must be able to
give meaningful consideration and effect to all mitigating evidence that might provide
a basis for refusing to impose the death penalty on a particular individual,
notwithstanding the severity of his crime or his potential to commit similar offenses
in the future.” Abdul-Kabir v. Quarterman, 550 U.S. 233, 246 (2007) (emphasis
added).
            In application, the Supreme Court’s Penry jurisprudence involves a two-part
inquiry. See Mines v. Quarterman, 267 F. App’x 356, 361 (5th Cir. 2008) (describing
the process by which a court assesses a Penry claim); Coble v. Quarterman, 496 F.3d
430, 444 (5th Cir. 2007) (same). A reviewing court first asks whether the complained-
of evidence meets a low relevance standard. See Tennard v. Dretke, 542 U.S. 274,
283 (2004). Second, a court must decide whether the defendant’s evidence had
“mitigating dimension beyond” the special issue questions actually posed to the jury.
Tennard, 542 U.S. at 288; see also Smith, 543 U.S. at 43-45 (reaching the same result
in a case on certiorari review from the Texas Court of Criminal Appeals). “[W]hen
the defendant’s evidence may have meaningful relevance to the defendant’s moral
culpability ‘beyond the scope of the special issues,’” omitting a specific mitigation
question amounts to constitutional error. Abdul-Kabir, 550 U.S. at 254 n.14.27
            Against that background, the Court will consider Williams’ claim that his jury


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       The Fifth Circuit’s recent application of Penry jurisprudence has granted relief in
nearly all cases in which the petitioner raised a procedurally adequate Penry claim. See
Norris v. Davis, ___ F.3d ___, 2016 WL 3418412 (5th Cir. June 21, 2016); Jones v.
Stephens, 541 F. App’x. 399, 406 (5th Cir. 2013); McGowen v. Thaler, 675 F.3d 482, 495-96
(5th Cir. 2012); Pierce v. Thaler, 604 F.3d 197, 211-12 (5th Cir. 2010); Rivers v. Thaler, 389
F. App’x 360, 361 (5th Cir. 2010); Mines v. Quarterman, 267 F. App’x 356, 362 (5th Cir.
2008); Chambers v. Quarterman, 260 F. App’x 706, 707 (5th Cir. 2007); Garcia v.
Quarterman, 257 F. App’x 717, 723 (5th Cir. 2007); Coble v. Quarterman, 496 F.3d 430,
433 (5th Cir. 2007); but see Smith v. Quarterman, 515 F.3d 392, 414 (5th Cir. 2008).

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could not give full effect to the mitigating evidence. Before applying the law to his
Penry claim, however, the Court must determine which arguments are fully available
for federal review.
            B.          Scope of Federal Review
            Williams’ federal petition argues that the special issues precluded consideration
of “his character and background and the circumstances of the offense . . . .” [Doc.
# 7, p. 44]. In particular, Williams emphasizes that he did not know during the
encounter that the victim was a police officer, he had great remorse after the crime and
at trial, and his background (his young age, efforts at education, and good character).
Respondent, however, argues that the convoluted state habeas litigation resulted in
Williams’ abandonment of some Penry arguments.
            Williams’ 1991 application raised a broad Penry claim that relied on evidence
of his remorse, young age, background, efforts at obtaining an education, early
introduction to criminal behavior, and circumstances of the crime exceeded the jury’s
consideration under the special issues. Mr. Schaffer renewed the Penry claim in the
1993 application, yet included a narrower discussion and only addressed whether “the
circumstances surrounding the offense could have warranted a life sentence had an
additional special issue given the jury that option.” S.H.R. at 106. Respondent
contends that any argument falling outside the factual basis advanced in the 1993
application is unexhausted and, therefore, procedurally barred.                Specifically,
Respondent argues that Williams ultimately focused only on “the supposed failure ‘to
consider and give effect to the mitigating circumstances surrounding the offense,’ and
anything beyond that allegation is procedurally defaulted” [Doc. # 34, p. 3].
            However, when the Court of Criminal Appeals adjudicated Williams’ Penry
claim, it considered most of the mitigating circumstances described in the 1991




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application. See Williams, 2012 WL 2130951, at *12.28 The Court of Criminal
Appeals’, opinion discussed: (1) “the circumstances of the offense” including
Williams knowledge “that Detective Shirley was a police officer” and that Williams’
“behavior was not reasonable in response to any provocation from him”; (2) “the
previous incident in which [Williams] was allegedly robbed by someone who
pretended to be a police officer”; (3) that Williams was “remorseful” because he “was
upset and apologetic after the incident”; and (4) Williams’ “attempts to better himself
through education” Williams, 2012 WL 2130951, at *15.29
            Despite state habeas counsel’s vague briefing in the 1993 application, this
Court’s review of the Penry claim will be co-extensive with the issues the Court of
Criminal Appeals adjudicated. It is the Court of Criminal Appeals’ review that
defines the issues available for federal review. See Jones v. Dretke, 375 F.3d 352, 355
(5th Cir. 2004) (finding that exhaustion satisfied when the state court considers an
issue sua sponte).30 Simply, “[t]here is no better evidence of exhaustion than a state

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       In a previous order, the Court erroneously observed that “[t]he state habeas courts
adjudicated only a narrow Penry claim, providing Respondent with his argument that a
procedural bar precludes review over the remainder of the issues” [Doc. # 26, p. 11]. This
Court intended to refer to the lower habeas court’s findings and conclusions. A closer review
of the state court proceedings, however, reveals that the Court of Criminal Appeals
adjudicated a broader habeas claim than that discussed in the lower court’s findings and
conclusions.
29
       Williams has hinted at other new areas of mitigating evidence. However, review is
not available if not presented to the state courts. On state habeas review, the Court of
Criminal Appeals observed that “[i]n the habeas proceedings, applicant presented some
evidence of a troubled childhood, but this evidence was not presented at trial, and so cannot
be considered in determining whether he should have obtained a mitigation special issue.”
Ex Parte Williams, No. AP-76,455, 2012 WL 2130951, at *15 (Tex. Crim. App. June 13,
2012).
30
        Other circuit courts have held that “a state appellate court’s sua sponte consideration
of an issue not only satisfies § 2254’s exhaustion requirement, but, more importantly for our
purposes, also constitutes an adjudication on the merits that is ripe for federal habeas
                                                                                  (continued...)

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court’s actual consideration of the relevant constitutional issue.” Sandstrom v.
Butterworth, 738 F.2d 1200, 1206 (11th Cir. 1984). Finding Williams’ full federal
Penry claim to be exhausted comports with modern habeas jurisprudence’s focus “on
what a state court knew and did.” Pinholster, 563 U.S. at 182. The Court rejects the
contention that those issues adjudicated on the merits by the Court of Criminal
Appeals are unexhausted.
            The Court, therefore, will decide whether the jury could fully consider the
categories of evidence identified by the Court of Criminal Appeals in adjudicating
Williams’ Penry claim: the circumstances of the offense, Williams being the victim
of a previous attempted robbery, Williams’ youth, remorse, and educational efforts.
Williams, 2012 WL 2130951, at *12.
            C.          The Circumstances of the Offense and Prior Attempted Robbery
            The Court of Criminal Appeals’ opinion focused on two features of the
guilt/innocence defense that allegedly evaded the jury’s consideration in the penalty
phase: Williams’ “behavior was not reasonable in response to any provocation from




30
        (...continued)
review.” Alverson v. Workman, 595 F.3d 1143, 1153 n.3 (10th Cir. 2010); see also Comer
v. Schriro, 463 F.3d 934, 956 (9th Cir. 2006), withdrawn on other grounds, Comer v.
Stewart, 471 F.3d 1359 (9th Cir. 2006); Moorman v. Schriro, 426 F.3d 1044, 1057 (9th Cir.
2005); Walton v. Caspari, 916 F.2d 1352, 1356-57 (8th Cir. 1990); Cooper v. Wainwright,
807 F.2d 881, 887 (11th Cir. 1986). “In this situation, the purpose of the exhaustion
doctrine—to give state courts the first word on a claim—has been satisfied.” Moore v.
DiGuglielmo, 489 F. App’x 618, 623-24 (3d Cir. 2012); see also Sandstrom v. Butterworth,
738 F.2d 1200, 1206 (11th Cir. 1984) (“[T]he core of the exhaustion issue lies not in how
petitioner’s state court pleadings are to be interpreted. Instead, we must look to what the
state courts actually considered.”); see also 2 Randy Hertz & James S. Liebman, FEDERAL
HABEAS CORPUS PRACTICE AND PROCEDURE § 23.3a (2015) (“If the appropriate state courts
have had sufficient opportunity to rule on the claim even though the petitioner did not
specifically present it, the presentation requirement will be excused. This exception comes
into play, for example, when a state court with the authority to make a final adjudication
undertook to decide the claim on its merits sua sponte.”).

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him”31 and “the previous incident in which [Williams] was allegedly robbed by
someone who pretended to be a police officer.” Williams, 2012 WL 2130951 at *15.
            Williams’ arguments relating to the events surrounding the murder asked the
jury to reconsider its finding of guilt. The jury had a full opportunity to consider the
circumstances of the offense and the subsidiary arguments relating to his intent when
the jury decided to convict Williams. To a large measure, Williams’ argument about
the circumstances of the offense is another species of residual-doubt evidence. The
Fifth Circuit has recognized that “residual doubt may be a reasonable, even highly
beneficial, strategy in a capital case.” Martinez v. Quarterman, 481 F.3d 249, 256
(5th Cir. 2007) (citing Moore v. Johnson, 194 F.3d 586, 618 (5th Cir. 1999)).
However effective as a strategy, the Supreme Court has not designated residual doubt
as a form of mitigating evidence. Even when recognizing that mitigating evidence
addresses an “aspect of a defendant’s character or record and any of the circumstances
of the offense,” Lockett v. Ohio, 438 U.S. 588, 604 (1978), the Supreme Court has
“never held that capital defendants have an Eighth Amendment right to present
‘residual doubt’ evidence at sentencing[.]” Abdul-Kabir, 550 U.S. at 251; see also
Franklin v. Lynaugh, 487 U.S. 164, 173 n.6 (1988) (finding it “quite doubtful” that
a right to present residual doubt exists); Holland v. Anderson, 583 F.3d 267, 283 (5th
Cir. 2009) (“[T]he Supreme Court has not recognized a constitutional right to argue
‘residual doubt’ at sentencing.”).
            Residual doubt–such as whether the circumstances of the offense demonstrate
a lack of intent–is not relevant to a jury’s deliberations in the punishment phase. The
Court of Criminal Appeals correctly observed “nothing in the circumstances of the


31
       Among the special issues submitted by the trial court, jurors were asked if “the
conduct of the defendant. . . in killing Daryl Wayne Shirley, the deceased, [was]
unreasonable in response to the provocation if any by the deceased?” Clerk’s Record at 210.
Williams’ briefing does not elaborate on his evidence that touches on provocation and does
not explain why the provocation special issue failed to provide full review of that evidence.

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offense . . . has meaningful mitigating relevance to [Williams’] moral culpability.”
Williams, 2012 WL 2130951, at *15. For that reason, the Supreme Court has never
found a constitutional right to punishment-phase jury instructions revisiting questions
of guilt. See Franklin, 487 U.S. at 172-73; see also United States v. Jackson, 549 F.3d
963, 981 (5th Cir. 2008) (finding that a criminal defendant has no right to a sentencing
instruction on residual doubt). To the extent that the jury would reconsider its finding
of guilt, Williams fails to explain how the deliberateness and provocation special
issues did not encompass any mitigating features of his chosen defense. In particular,
Williams has not explained how the jury could not fully consider the prior attempted
robbery of Williams in deciding whether his action was “unreasonable in response to
the provocation, if any, by the deceased?” Thus, Williams has not shown that his
circumstances-of-the-crime argument exceeded the jury’s purview in the penalty
phase.
            D.          Youth
            Williams argues that “he was only twenty-two years old when the capital
offense occurred. Williams’ young age at the time of the offense, standing alone, is
a factor entitled to consideration in mitigating of punishment beyond the scope of the
special issues” [Doc. # 7, p. 145]. The discussion of the mitigation effects of
Williams’ youth is the only portion of his federal Penry claim that exceeds that
adjudicated by the Court of Criminal Appeals.             Williams argued in the 1991
application and on federal review that the special issues did not allow consideration
of his age. The Court of Criminal Appeals included Williams’ “youth” when
describing the “good-person evidence” he presented at trial, but did not include that
factor in the subsequent discussion of his Penry claim. Williams, 2012 WL 2130951,
at *13. The portion of Williams’ Penry claim addressing youth is not properly before
the Court.
            Even if the Court of Criminal Appeals had considered whether the jury could

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consider and give effect to evidence of “the transient immaturity of youth,”
Montgomery v. Louisiana, ___ U.S. ___, 136 S. Ct. 718, 734 (2016), the Supreme
Court has found that “[e]vidence of youth . . . has special relevance to the question of
future dangerousness.” Abdul-Kabir, 550 U.S. at 261; see also Johnson v. Texas, 509
U.S. 350, 370-72 (1993).                             The Supreme Court has explained that the future
dangerousness issue provided “ample room . . . for a juror to take account of the
difficulties of youth as a mitigating force in the sentencing determination.” Johnson,
509 U.S. at 368. Williams has not shown that he merits a new trial because the special
issues did not allow the jury to consider his youth at the time of the incident.
            E.          Good Character Through Remorse and Education
            Williams also argues that his jury had no vehicle to consider mitigating
evidence that he was “remorseful” because he “was upset and apologetic after the
incident” and that he had “attempt[ed] to better himself through education”32
Williams, 2012 WL 2130951, at *15. During the guilt/innocence phase, the defense
adduced testimony that, when leaving the premises after the shooting, Williams was
crying. Tr. Vol. 27 at 736. Hours after the killing, Williams was still “crying . . . and
apologizing. He was just really upset.” Tr. Vol. 26 at 642. Williams was “was very
emotionally upset. He was crying uncontrollably. He apologized.” Tr. Vol. 26 at
634, 648. Williams also expressed remorse during his testimony at trial. Tr. Vol. 27
at 792-93.
            Trial counsel’s questioning of Williams also focused on other areas of
mitigating evidence. Williams had obtained his G.E.D. before committing the murder.
Tr. Vol. 27 at 696. Williams tried to enroll in college when he arrived in Houston but


32
       The Court of Criminal Appeals also observed that “[i]n the habeas proceedings,
applicant presented some evidence of a troubled childhood, but this evidence was not
presented at trial, and so cannot be considered in determining whether he should have
obtained a mitigation special issue.” Ex Parte Williams, No. AP-76,455, 2012 WL 2130951,
at *15 (Tex. Crim. App. June 13, 2012).

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did not have the records he needed to do so. Tr. Vol. 27 at 699.33 He obtained college
credits while in prison. Tr. Vol. 27 at 697-98.
            Testimony about remorse and of educational pursuits are both species of good-
character evidence.34 On direct appeal, the Court of Criminal Appeals succinctly
found that Williams’ jury could consider whether his character would mitigate his
sentence:
            That [Williams] was upset and apologetic after the incident could be
            relevant to show that he was remorseful, which can impact a jury’s
            determination of future dangerousness, but [his] reaction after the
            incident does not make him less blameworthy for what occurred.
            Likewise, [Williams’] attempts to better himself through education was
            relevant to future dangerousness but did not impact his moral culpability.



33
            Also, as described by the state habeas court, trial counsel elicited testimony

            that [Williams] knew that he committed a technical violation by leaving the
            halfway house; that he came to Houston from Minnesota to get away from the
            environment in Minnesota; that he attempted to enroll in college in Houston
            but did not have all his records; that he was using a different name to avoid
            arrest for his parole violation; that he did not hold a steady job in Houston but
            went on job interviews; and that he was receiving money from his family and
            friends to help him.

S.H.R. at 781.
34
        In precedent from two decades ago, the Fifth Circuit found that evidence of remorse
could be considered in the context of the deliberateness and future dangerousness issues. See
Callins v. Collins, 998 F.2d 269, 275 (5th Cir. 1993); James v. Collins, 987 F.2d 1116, 1122
(5th Cir. 1993); Wilkerson v. Collins, 950 F.2d 1054, 1062 (5th Cir. 1992). In doing so, the
Fifth Circuit treated evidence of remorse as a form of good character evidence. See Briddle
v. Scott, 63 F.3d 364, 377 (5th Cir. 1995) (citing case law involving good character evidence
when denying claim involving remorse); James v. Collins, 987 F.2d 1116, 1120 (5th Cir.
1993) (“James also presented ‘good character evidence,’ consisting of evidence that he
cooperated with police, showed signs of remorse over his actions, and possessed redeeming
character traits.”). The Fifth Circuit has also considered testimony about a defendant
“furthering his education” to be “good character” evidence. Pierce v. Thaler, 604 F.3d 197,
208 (5th Cir. 2010).

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Williams, No. AP-76,455, 2012 WL 2130951, at *15.
            Recent authority establishes that the state court’s adjudication was an
unreasonable application of Supreme Court precedent. Initially, the Court finds that
Williams’ good-character evidence was plainly relevant, the first step of a Penry
analysis. “Relevant mitigating evidence is evidence which tends logically to prove
or disprove some fact or circumstance which a fact-finder could reasonably deem to
have mitigating value.” Tennard, 542 U.S. at 284. The Court of Criminal Appeals
seemed to recognize that the good-character evidence had mitigation relevance, but
it nevertheless concluded that a jury could fully consider and give effect to it under
the future-dangerousness special issue. In doing so, the Court of Criminal Appeals
specifically found the future-dangerousness issue broad enough to comprehend
remorse evidence:
            Remorse can be mitigating because it shows that the defendant has
            changed—which is a core issue in the future-dangerousness inquiry. And
            a jury could have believed that applicant’s distress was caused by
            remorse rather than by fear for himself. But it is not apparent how any
            such remorse could have mitigating impact beyond its relevance to the
            future-dangerousness issue, and the dissent does not explain how it
            could.
Williams, 2002 WL 2130951, at *15 n.76. “Likewise, [Williams’] attempts to better
himself through education was relevant to future dangerousness but did not impact his
moral culpability.” Id. at *15.
            Under the second Penry factor, Williams must show that his jury could not
“give meaningful consideration and effect to all [his] mitigating evidence . . . .”
Abdul-Kabir, 550 U.S. at 246. Evidence of remorse and educational efforts have
mitigating value because they “might serve as a basis for a sentence less than death,”
Skipper v. South Carolina, 476 U.S. 1, 4-5 (1986), as jurors could find the defendant
“less culpable than defendants who have no such excuse,” Franklin, 487 U.S. at 184.
Supreme Court authority has “establish[ed] that good character evidence has

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meaningful relevance to moral culpability . . . .” Pierce v. Thaler, 604 F.3d 197, 210
(5th Cir. 2010); see also Norris v. Davis, ___ F.3d ___, 2016 WL 3418412 (5th Cir.
June 21, 2016); McGowen, 675 F.3d at 495. Specifically, the Fifth Circuit in Pierce
recognized that an inmate’s attempts at personal betterment–in that case that the
defendant “matured in prison by furthering his education, improving his reading skills,
and developing his talent for art and woodworking”–implicated the defendant’s moral
culpability. Pierce, 604 F.3d at 208; see also Norris, 2016 WL 3418412, at * 6
(considering evidence that the defendant “was active at church, had been a good
student, was a good father to his daughter, and had maintained regular employment);
McGowen, 675 F.3d at 492 (addressing similar evidence including that the defendant
“had graduated from a vocational school”). The Fifth Circuit in Pierce found that
good-character evidence “is not encompassed by the [pre-1991] special issues.”
Pierce, 604 F.3d at 210 (citing Franklin, 487 U.S. at 185); see also McGowen, 675
F.3d at 495 (reversing a district court’s finding that the pre-1991 special issues
adequately allowed consideration of good character evidence).35 Williams’ evidence
of educational efforts is similar to the evidence presented by the defendant in Pierce,
and requires federal habeas relief for the same reasons.


35
       Respondent acknowledges that the State’s briefing relies on cases decided before
Abdul-Kabir, but states that “there is no Fifth Circuit precedent post-Abdul-Kabir and Brewer
holding that remorse cannot be fully considered through the future-dangerousness special
issue” [Doc. # 20, p. 154]. While no case explicitly relies on evidence of remorse to find
Penry error, as discussed above, the jurisprudence leads to that conclusion. Additionally, the
Fifth Circuit granted Penry relief in a case involving evidence of remorse without any
extensive discussion. In a claim involving a stopgap instruction to consider mitigating
evidence used by trial courts after Penry, but before the Texas legislature created a mitigation
special issue, the Fifth Circuit in Chambers v. Quarterman, 191 F. App’x 290, 301 (5th Cir.
2006), found that the special issues allowed the jury to consider evidence of remorse. The
Supreme Court, however, granted certiorari review and vacated the judgment in light of
Abdul-Kabir. Chambers v. Quarterman, 550 U.S. 915 (2007). The subsequent opinion
granting relief, however, did not mention evidence of remorse. Chambers v. Quarterman,
260 F. App’x 706 (5th Cir. 2007).

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            Similarly, Williams’ evidence of remorse required a specific instruction or
special issue on mitigating evidence. Respondent argues that the Court of Criminal
Appeals found that remorse may have mitigating value in showing that a defendant
has changed his behavior, but “had no relevance to moral culpability” [Doc. # 20, p.
146]. The special issues presented in 1983 only gave the jury the ability to consider
remorse in context of Williams’ future danger, his response to provocation, or
deliberateness. The question of whether Williams’ acted deliberately or in response
to provocation possibly provided a limited context to consider some, but not all,
mitigating features of his remorse. Remorse by definition follows action, which
lessens its impact on the question of whether he acted in just response to provocation
or acted deliberately. Questions relating to what happened before and during
Williams’ crime cannot explain the full measure of how Williams felt afterward.
            The Supreme Court, since at least 2000, has observed that a defendant
“expressing remorse for his actions” is a factor that “might well have influenced the
jury’s appraisal of [an inmate’s] moral culpability.” Williams v. Taylor, 529 U.S. 362,
398 (2000). Aside from merely forecasting future behavior, remorse “is something
commonly thought to lessen or excuse a defendant’s culpability.” Brown v. Payton,
544 U.S. 133, 142-43 (2005). A trial attorney may rely on evidence of remorse to
humanize his client in a manner which exceeds the inquiry used in deciding whether
he may act violently in the future.36 Remorse may provide insight into humanizing
qualities that do not necessarily relate to what an inmate has done or what he may do.
            The special issues currently used by Texas would have allowed the jury to

36
       In the guilt/innocence phase trial counsel asked jurors: “Is this the demeanor of a
cold-blooded killer? Is this the demeanor? A tearful cryfull [sic] man, who loves to kill cops
who has no remorse? . . . If you can walk around and kill somebody and not have one bit of
remorse, that would be a sick man.” Tr. Vol. 28 at 48. While trial counsel told jurors that
testimony showing that Williams “he was crying, he was visibly upset” would “show you
what his frame of mind was at the time.of the killing,” trial counsel also argued that it “is not
the demeanor of a cold-hearted killer. It is just not.” Tr. Vol. 24 at 49.

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consider fully any evidence of remorse. Specifically, the current special issue asking
jurors to take “into consideration all of the evidence, including the circumstances of
the offense, the defendant's character and background, and the personal moral
culpability of the defendant” would allow jurors to give effect to evidence of remorse.
Like evidence of educational efforts, testimony about remorse speaks to an inmate’s
moral character for which the special issues in 1983 at Williams’ trial provided no
meaningful avenue for consideration.
            As the Supreme Court concluded in Abdul-Kabir, even if Williams’ “mitigating
evidence may not have been as persuasive as Penry’s, it was relevant to the question
of [his] moral culpability . . . [because it] did not rebut either deliberateness or future
dangerousness but was intended to provide the jury with an entirely different reason
for not imposing a death sentence.” Abdul-Kabir, 550 U.S. at 259. Had the current
punishment phase questions been put before the jury, an effectual vehicle would have
existed for the consideration of mitigating evidence. Because of the constitutional
defect in the jury’s ability to consider and give effect to all Williams’ mitigating
evidence, an additional special issue was required. See Pierce, 604 F.3d at 210. The
omission of a mitigating question requires federal habeas corpus relief.
            F.          Harmlessness of the Constitutional Error
            Respondent argues that, even if the jury could not consider Williams’ mitigating
evidence, any resulting error would be harmless. Fifth Circuit precedent “forecloses
any argument that a Penry error can be subject to harmless error review.” Mines v.
Quarterman, 267 F. App’x 356, 362 n.3 (5th Cir. 2008); see also Nelson v.
Quarterman, 472 F.3d 287, 314-15 (5th Cir. 2006). The Fifth Circuit has repeatedly
noted that “the Supreme Court has never applied a harmless-error analysis to a Penry
claim or given any indication that harmless error might apply in its long line of post-
Furman cases addressing the jury’s ability to give full effect to a capital defendant’s



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mitigating evidence.” Nelson, 472 F.3d at 314.37 Indeed, the Fifth Circuit has held
that “it would be wholly inappropriate for an appellate court, in effect, to substitute
its own moral judgment for the jury’s in these cases.” Id. at 315.
            This Court follows Fifth Circuit law and does not apply a harmless error
analysis to Williams’ Penry claim. Accordingly, more than three decades after
Williams’ trial, Texas must either hold a new punishment hearing or commute his
sentence to life imprisonment.
IV.         REMAINING PUNISHMENT PHASE CLAIMS
            Williams raises other claims relating to the penalty phase of trial. This Court’s
grant of habeas relief on Williams’ Penry claim renders moot his other punishment
phase claims. In the interests of judicial economy, the Court will not address their
merits.
                                        CERTIFICATE OF APPEALABILITY
            AEDPA prevents appellate review of a petitioner’s claims unless the district or
circuit courts certify specific issues for appeal. See 28 U.S.C. § 2253(c); FED. R. APP.
PRO. 22(b). The State, however, does not need judicial authorization to appeal. FED.
R. APP. PRO. 22(b)(3) (“A certificate of appealability is not required when a state or
its representative or the United States or its representative appeals.”). Williams has
not yet requested that this Court grant him a Certificate of Appealability (“COA”) on
his guilt/innocence claims, though this Court is permitted to consider the issue sua
sponte. See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000).
            A certificate of appealability will not issue unless the petitioner makes “a


37
       “[T]he question whether some types of Penry error might be subject to harmless error
review has not been squarely decided by and remains unresolved by the United States
Supreme Court.” Garcia v. Quaterman, 257 F. App’x 717, 724 (5th Cir. 2007); see also
Smith v. Texas, 550 U.S. 297, 316 (2007) (Souter, J., concurring) (“In some later case, we
may be required to consider whether harmless error review is ever appropriate in a case with
error as described in Penry[.] We do not and need not address that question here.”).

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substantial showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2),
which requires a petitioner to demonstrate “that reasonable jurists would find the
district court’s assessment of the constitutional claims debatable or wrong.” Tennard
v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484
(2000)). Under the controlling standard, this requires a petitioner to show “that
reasonable jurists could debate whether (or, for that matter, agree that) the petition
should have been resolved in a different manner or that the issues presented were
‘adequate to deserve encouragement to proceed further.’” Miller-El, 537 U.S. at 336.
Where denial of relief is based on procedural grounds, the petitioner must show not
only that “jurists of reason would find it debatable whether the petition states a valid
claim of the denial of a constitutional right,” but also that they “would find it
debatable whether the district court was correct in its procedural ruling.” Slack, 529
U.S. at 484.
            Applying governing standards, Williams’ guilt/innocence phase claims do not
justify appellate consideration. This Court declines to issue a COA.
                                                     CONCLUSION AND ORDER
            For the reasons set forth above, it is hereby
            ORDERED that a writ of habeas corpus is GRANTED conditionally on
Williams’ Penry claim. It is therefore
            ORDERED that a writ of habeas corpus shall issue unless, within 180 days of
judgment in this proceeding becoming final, the State of Texas either begins new
sentencing proceedings against Williams or commutes his sentence to life
imprisonment. It is further
            ORDERED that the Court DENIES certification of any issue for appellate
consideration.
            The Clerk will deliver a copy of this Memorandum and Order to the parties.



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            SIGNED this 28th day of June, 2016, at Houston, Texas.



                                                          _________________________________
                                                                   NANCY F. ATLAS
                                                           UNITED STATES DISTRICT JUDGE
                                                                   NAN Y F. ATLAS
                                                          SENIOR UNI   STATES DISTRICT JUDGE




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